2:22-cv-01143-RMG   Date Filed 03/28/22   Entry Number 1-1   Page 1 of 98




                    EXHIBIT A
               2:22-cv-01143-RMG               Date Filed 03/28/22           Entry Number 1-1             Page 2 of 98




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 24524982
Notice of Service of Process                                                                            Date Processed: 02/25/2022

Primary Contact:           Sheryl Arneson
                           3M Company
                           3M Center
                           Bldg 220-9E-02 220-10W/F06
                           Saint Paul, MN 55144-1000

Electronic copy provided to:                   Canhnha Luu
                                               Cheryl Muellner

Entity:                                       3M Company
                                              Entity ID Number 3571748
Entity Served:                                The 3M Company, f/k/a Minnesota Mining and Manufacturing Co.
Title of Action:                              Bradley D. McMartin vs. The 3M Company, f/k/a Minnesota Mining and
                                              Manufacturing Co.
Matter Name/ID:                               Bradley D. McMartin vs. The 3M Company, f/k/a Minnesota Mining and
                                              Manufacturing Co. (12039899)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            22STCV06558
Jurisdiction Served:                          California
Date Served on CSC:                           02/24/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Bordin Semmer LLP
                                              323-457-2110

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                      2:22-cv-01143-RMG                        Date Filed 03/28/22                         Entry Number 1-1            Page 3 of 98

Electronically FILED by Superior Court of California, County of Los Angeles on 02123r~&T@A~MMherri R. Carter, Executive Officer/Clerk of Court, by N. Miramontes,Deputy Clerk




                                                     SU    IYI IYIO N S                                                                     FOR COURT USE ONLY
                                                                                                                                        (SOLO PARA USO DELA CORTE)
                                           (CITACION Jd1D1CIAL)

       NOTICE TO DEFENDANT:
       (AVISO AL DEMANDADO):
        THE 3M COMPANY, f/k/a Minnesota Mining and Manufacturing Co.,
        ["Additional Parties Attachment form is attached"]
       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTA DEMANDANDO EL DEMANDANTE):
         BRADLEY D. MCMARTIN, an individual; WALTER MADDOCKS, an individual;
         ["Additional Parties Attachment form is attached"]
        NOTICE! You have been sued. The court may decide against you without your being heard unless you respon
        oelow.                                            -,
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fi!e a written response at this court and have a copy
        served on the plaintiff. A letter or phone ca!I will,not protect you. Your written response must be in proper legal form if you want the court to hear your
        case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
        Online Self-Help Center (www.courtinfo.ca.gov~;t-(fhelp), your county law ]ibrary, or the courthouse nearest you. If you cannot pay the fi!ing fee, ask the
        court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
        be taken without further warning from the court.
           There are other legal requirements. You may want to call an attomey right away. If you do not know an attorney, you may want to call an attorney
        referral service. If you cannot afford an attorney, you may be eliglble for free legal services from a nonprofit legal services program. You can locate
        these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
        (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
        costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court wil] dismiss the case.
        iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacion a
        continuacidn.
          Tiene 30 D(AS DE CALENDARIO despues de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
        corte y hacer que se entregue una copia al demandante. Una carta o una llamada.telef8nica no lo protegen. Su respuesta por escrito tiene que estar
        en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un formulario qua usted pueda usar para su respuesta.
        Puede encontrar estos forrrfularios de la corte y mas informacidn en el Centro de Ayuda de /as Cortes de California (www.sucorte.ca.gov), en la
        biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la corte que
        le de un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
        quitar su sueldo, dinero y bienes sin mas advertencia.
           Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmedfatamente. Si no conoce a un abogado, puede liamar a un servicio de
        remisibn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
        programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
        (www.lawhelpcalifomia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
        colegio de abogados /oca/es. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
        cualquierrecuperacion de $10,000 6 mas de valorrecibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
        pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
       The name and address of the court is:                                                                              CASE NUMBER: (Nf)mero del Caso):
       (EI nombre y direcci6n de la corte es): LOS Angeles Superior Court
                                                                                                                          2 2c3T C,.V O6 56 8
                                                          111 N. Hill Street
                                                          Los Angeles CA 90012
       The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (EI nombre, la direccion y el nf:finero
       de telefono del abogado del demandante o del demandante ue no tiene abo ado, es):
          Benjamin A. Sampson, BORDIN SEi~IMER LLP Center ~rive, Suite 110~0 Los Angeles, California 90045; (323) 457-2110
                                                                                                                                                         BnesrlR CarterExewWeOftirerlClerkofCoud

       DATE: 0Z2317022                                                                                     Clerk, by                                                   Deputy
       (Fecha)                                                                                             (Secretario)         N. Miramontes                         (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                               NOTICE TO THE PERSON SERVED: You are served
                                                1.           as an individual defendant.
                                                2.   0       as the person sued under the fictitious name of (specify):
                                                                                           THE 3M COMPANY, F/K/A MINNESOTA MINING AND
                                                3.   ®       on behaif of (specify):       MANUFACTURING CO.        ;

                                                      under: ®       CCP 416.10 (corporation)                               0     CCP 416.60 (minor)
                                                              ~      CCP 416.20 (defunct corporation)                             CCP 416.70 (conservatee)
                                                              ~      CCP 416.40 (association or partnership)                0     CCP 416.90 (authorized person)
                                                              0      other (specify):
                                                4.   0       by personal delivery on (date):
                                                                                                                                                                          Page 1 of i
       Form Adopled for Mandalory Use                                                 SUMMONS                                               Code of Civil Procedure §§ 412.20, 465
       Judicial Councll of Califomia                                                                                                                            www.courts.ca.gav
       SUM-100 iRev. July 1, 2009]

       For your protection and privacy, please press the Clear              ;.   ..    ... ._..   _.....           ,                                 .      _..      „
       This Form button after vou have printed the form.                    ; Pr.'t..nt thi$ form: .         Save this form                         ;= ~~~ear this::form
                2:22-cv-01143-RMG                        Date Filed 03/28/22                     Entry Number 1-1                  Page 4 of 98


                                                                                                                                                      SUM-200 A
 SHORT TITLE:                                                                                                       cnsE NUMSER:
           Bradley D. McMartin, et al. v. The 3M Company, et al.                                                               2 2gT OV p, g5O g

                                                                    INSTRUCTIONS FOR USE
-'>This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
—> If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
   Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

      =       Plaintiff         0     Defendant          =       Cross-Complainant               0       Cross-Defendant


          RODNEY COOPER, an individual; DAVID CAROLAN, an individual; MICHAEL CAMELLO, an individual;
          ALEXANDER SOLIS, an individual; JEFF HOWE, an individual; MICHAEL BRADLEY, an individual; NEAL
          LOWRY, an individual; PATRICK CRADDICK, an individual; ALEJANDRO HAUA, an individual;
          THOMAS MCLAUGHLIN, an individual; LUIS GERARDO DEL CID, an individual; JOSEPH
          SHUMACHER, an individual; ROBERT PERA, an individual; MICHAEL DUBRON, an individual; DAVID
          ROSE, an individual; DOUG SUTHERLAND, an individual; ROBERT HARMON, an individual; HARRY
          WONG, an individual; MICHAEL ALBARRAN, an individual; TOM FAHRNY, an individual; JANEL
          PHILLIPS, individually and as Successor-In-Interest to Decedent GLEN PHILLIPS; OLIVER KING, an
          individual; SCOTT STEPHENS, an individual, DIRK FLORES, an individual; DANIEL ZUBAK, an individual;
          KELLY ABADIE, an individual; ALVIN BLADES, an individual; LES FITZGERALD, an individual;
          RAI`dDALL SMITH, an individual; DENNIS STANDROD, an individual; MARK ASHLEY, an individual;
          BLAIR WEIN, an individual; TIMOTHY JONES, an individual; MARK BENNETT, an individual; and
          VICENTE CASAS, an indi~i




                                                                                                                                       Page        1                 of               2

 FormAdoptedforMandaloryUse
   Judicial Counal of Californla
                                               ADDITIONAL PARTIES ATTACHMENT                                        -
SUM-200(A) [Rev. January 1, 2007]                        Attachment to Summons •                                       .~
For your protection and privacy, please press the Clear                                              `                                     .......:.:.:.......~..,,.~,~n-...........:,..::;..., .
                                                            - _ . _.. _._,........ ....... .......
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                                                .       •     ,      '' `=':
                                                                `P
                2:22-cv-01143-RMG              Date Filed 03/28/22               Entry Number 1-1               Page 5 of 98


                                                                                                                                      SUM-200 A
 SHORT TITLE:                                                                                    CASE NUMSER:
           Bradley D. McMartin, et al. v. The 3M Company, et al.,                                          2 2ST c'~,{ 0 655 s

                                                          INSTRUCTIONS FOR USE
—}This form may be used as an attachment to any summons if space does not permit the listing of all pariies on the summons.
~ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
  Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

      0       Plaintiff         Ox Defendant   =     Cross-Complainant           0     Cross-Defendant


           AGC CHEMICALS AMERICAS INC., AMEREX CORPORATION, ARKEMA INC., ARCHROMA
          MANAGEMENT LLC, BASF CORPORATION, individually and as successor in interest to Ciba Inc.,
          BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER GLOBAL CORPORATION, CHEMDESIGN
          PRODUCTS INC., CHEMGUARD INC. CHEMICALS, INC., CLARIANT CORPORATION, individually and
          as successor in interest to Sandoz Chemical Corporation, CORTEVA, INC., individually and as successor in
          interest to DuPont Chemical Solutions Enterprise, DEEPWATER CHEMICALS, INC., DUPONT DE
          NEMOURS INC., individually and as successor in interest to DuPont Chemical Solutions Enterprise, DYNAX
          CORPORATION, E.1. DUPONT DE NEMOURS AND COMPANY, individually and as successor in interest
          to DuPont Chemical Solutions Enterprise, KIDDE-FENWAL, INC., individually and as successor in interest to
          Kidde Fire Fighting, Inc., NATION FORD CHEMICAL COMPANY, NATIONAL FOAM, INC., THE
          CHEMOURS COMPANY, individually and as successor in interest to DuPont Chemical Solutions Enterprise,
          THE CHEMOURS COMPANY FC, LLC, individually and as successor in interest to DuPont Chemical
          Solutions Enterprise, and TYCO FIRE PRODUCTS, LP, individually and as successor in interest to The Ansul
          Company,




                                                                                                                     Page          2         of       2
                                                                                                                                                  Paae 1 of 1
 Form Adopted For Mandalory Use
   Judicial Council of California
                                               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                         Attachment to Summons
For your protection and privacy, please press the Clear                                                                 ,.<rt.......u.,,,.   , , .,.. .
This Form button after you have printed the form.            PPlnit ff11S:fOCt1T::: , SaVe. thlS fOf'ttl                `. C1d 81';thlS::foY.flt
                           2:22-cv-01143-RMG                             Date Filed 03/28/22                       Entry Number 1-1                                  Page 6 of 98
Electronically FILED by Superior Court of California, County of Los Angeles on 02123/2022 09:51 AM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Mlramontes,Deputy Clerk
                                                                                               22STCV06558                                                                                                rxe-n't n
         AT7QR]ty~EYORRAARSYnwlIl50fl                                         mbor.ondaddress):                                                                      FOR coURT USE ONLY
           tBSeorrl arTl rl        ;~aRe ~afNIVO.                Lyl/7/
                din SemmJear LIL1P
          6100 Center Drive, Suite 1100
          Los Angeles, California 90045
              TeLEPHorvE No.: (323) 457-2110                                        FAx No.: (323) 457-2120
         aTTMnlGvcnRru.emal• Plalntiffs
       SUPERtOR COURT OF CALIFORNIIA, COUNTY OF LOS AngeleS
                 STREETADDRESs: lii          N Hill Street

                  MaiuNe;AooresG: 111 N. Hill Street
                                    Los Angeles CA 90012
                 cITY ANa zIP cocE:
                                    Stanley Mosk
                    SRANCH NAM.t_:
          CASE NAtAE: BRADLEY D. MCMARTIN, et al. v. The 3M Company, et al.

                                                                                                                                              CASS NUM6ER:
                 CIVIL CASE COVER SFIEET                                                 Complex Case Designation
        [:n Unlimited                   0           Limited                                                                                                     z 2ST G"k} 0 65                 58
                   (Amount                          (Amount                        ~       Counter          0      Joinder
                                                                                                                                               JUD~t"
                   demanded                         demanded is                    Filed with first appearance by defendant
                   exceeds $25,000)                 $25,000 or less)                   (Cat. Rules of Court, rule 3.402)                         oEPs_
                                                       ltems 1-6 below must be completed (see Tnstructions on paqe 2).
             Check one box befow for the case type that best describes this case:
             Auto Tort                                                         Contract                                            Provisionally Complex Givil Litigation
                                                                               0         Breach of contracUvrarranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
             0~   Auto (22)
             r  I
                                                                                         Rute 3.740 collections (09)               ~         AntitrustCrrade reguiation (03)
             L—! Uninsured motorist (46)                                       0
             Other PI/PDlWD (Personal lnjurylProperty                          0         Other collections (09)                    ~         Construction defect (10)
             Damage/Wrongfut Death) Tort                                                 Insurance coverage (18)                   0         Mass tort (40)
             ~   t
             L_J Asbestos (04)                                                 0     Other contract (37)                           ~          8ecurities iitigation (28)
             0   Product liabiiity (24)                                                                                            r
                                                                               Real Property                                       I—I Environmental/Toxic tort (30)
             ~          Medical maipr-actice (45)                                        Emi'nenf doniaindtnverse                  0          Insurance coverage ciaims arising from the
             0          Other PIIPD/WD (23)                                              condemnation (14)                                    above listed provisionaiiy cotnpiax case
                                                                                         Wrongful eviction (33)                               types (41)
             Non-PIlPDtWD (Other) Tort                                         0
                                                                          Other reat pre~perty (26)                                Enforcement of Judgment
             =            sl
                        Buness     toN ~nfair business practice (07) 0
             r—~t                                                    Untawful Detainer                                             0         Enforcement of judgment (20)
             !          Civii rights (08)
             ~          Defamalion (13)                              0    Comm.erciai (31) .                                       EAiscellaneous Civil Comptaint
             0          Fraud (16)                                             0         Residentiat (32)                          0         RICO (27)
             0          Inteilectuai property (15)                             ~         Drugs (38)                                ~          Other compiaint (not specffied abova) (42)
             ~          Professional negligence (25)                           Judiciai Review                                     ARiscellaneous Civil Petition
             ~          Other non-PI/PDIW13 tort (35)                          0     Asset forfeiture (05)                         =    partnership and corporale govemance (21)
             Employment                                                        ~         Petition re: arbitration award (11.)      =          Other petition (not spec;tied above) (43)
             =    V'Urongful terrcrination (36)                                0         Writ of mandate (02)
                        Ot1ier employment (15)                                 F -1      Other iudicial review (39)
        2. This case L-J is                     L.LJ is not         complex under rule 3.400 of the California Rules of Court. If the case is camplex, mark the
                 factors requiring exceptional judicial management:
                 a. =      Large number of separately represented parties                             d.        Large nurnber of witnesses
                 b. E -1 Extensive motion practice raising difficult or novel                         e.        Coordination with related actions pending in one or more courts
                           issues that will be time-consuming to resolve                                        in other ceunties, states, or countries, or in a federal court
                 c, ED Substantial amount o€ documentary evidence                                     f.        Substantial postjudgment judiciai supervision
        3. f2emedies sought (check all that apply): a.0                                monetary     b. F -~ nonmonetary; declaratory or injunctive relief                                     c. =punitive
        4. Number of causes of aCtiOn (Spec/fy): 6 Negligence, Products Liability-Failure to Warn, Products Liability - Defective Design, Fraudulent Transfer;
                                                    onstructive Frayduient Transfer and Punitive Damages
        5.       Thls case     =       is       ~      is nCJt      a C~aSS actlon SUtt.
        6. If there are any known related cases, file and serve a notice of related case. (You may,use form C,W-015.)
         t3ate:         2.23.22
                        Benjamin A. Sampson
                                            (rYPE OR PRINT PtAME)                                                                (53GNATURE Oi-PARTY ORIXTTORN:Y FOR PARTY)
                                                                                 NOTlCE                                                 ~
           e Plaintiff rnust fite this cover sheet with the first paper flled in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfarz and Institutions Code). (Cal. Rules of Court, ruie 3.220.) Failure to fite may result
             in sant:tions.
           • File this caver sheet in addition to any cover sheet reqttired by local court rute,
           • If this case is complex under rule 3.400 et seq. of the Caiifomia Rules of Court, you must serve a copy of this cover sheet,on all
             other parties to the action or proceeding.
           • Unless this is a collections case under rule 3.740 or a comptex case, this cover sheet will be used for statistical purposes onE~y.
                                                          .          _   ..                                               ..   . _.__.—_....._..._..__............._--"----_._..____......------_.          . a9.—.._._
                                                                                                                                                                                                                    e 1 af 2
         Foem Adopted for Matzdatory Use                                                                                                                    Cai. Rutes of Courl, rutes i.30, ~3.220, 3.400-3.403.3.740;
           JudiciaE GaUnclt of GaDrort7ia
                                                                                CIVIL CASE COVER S}IEET                                                                Cal, standards of Jucticial Administration, std. 3.,o
           CM-Ot0 iRev. July 1. 20071                                                                                                                                                                tv<m:croudinfo.ca.gov
                2:22-cv-01143-RMG               Date Filed 03/28/22              Entry Number 1-1               Page 7 of 98


                                                                                                                                       CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the Califomia Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases oniy, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintifPs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                           Antitrust/Trade Regulatioh (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer             Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach—Seller                 Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
          instead ofAuto)                                Negligent Breach of Contract/                    Insurance Coverage Claims
                                                              Warranty                                        (arising from provisionally complex
 Other PI/PDNVD (Personal Injury/
                                                          Other Breach    of Contract/Warranty                 case type listed above) (41)
Property DamageNVrongful Death)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                                                              Case                                             Confession of Judgment (non-
                Wrongful Death
                                                     Insurance Coverage (not provisionatly                           domestic relations)
     Product Liability (not asbestos or
                                                          complex) (18)                                        Sister State Judgment
          toxic%nvironmental) (24)
     Medical Malpractice (45)                             Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice—                            Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                       Petition/Certification of Entry of
                                                          Contractual Fraud                                        Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                               Other Contract   Dispute                             Other  Enforcement of Judgment
                                                                                                                    Case
     Other PI/PD/WD (23)                         Real Property
                                                     Eminent Domain/inverse                          Miscellaneous Civil Complaint
          Prernises Liability (e.g., slip
                                                          Condemnation (14)                               RICO (27)
                and fall)
                                                     Wrongful Eviction (33)                               Other Complaint (notspecified
          Intentional Bodily Injury/PD/WD                                                                      above) (42)
                (e.g., assault, vandalism )          Other Real Property (e.g., quiet iitle) (26)              Declaratory Relief Only
          Intentional Infliction of                       Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                      harassment)
          Ne9li9ent Infliction of                         Quiet Title                                          Mechanics Lien
                Emotional Distress                        Other Real Property (not erninent                    Other Commercial Complaint
           Other PI/PD/WD                                 domain, landlord/ienant, or
                                                                                                                     Case (non-tort/non-complex)
 Non-PI/PD/WD (Other) Ton:                                foreclosure)                                         Other Civil Complaint
     Business TorUUnfair Business                Unlawful Detainer                                                  (non-tort/non-complex)
         Practice (07)                                Commercial (31)                                 Miscellaneous Civil Petition
     Civil Rights  (e.g., discrimination,            Residential (32)                                     Partnersliip and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                   Governance (21)
          harassment) (08)                                drugs; check this item; otherwise,               Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)                 above) (43)
           (13)                                   Judicial Review                                              Civil Harassment
     Fraud (16)                                       Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Proper[y (19)                      Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                            Abuse
         Legal Malpractice                                Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                   Writ—Mandamus on Limited Court                       Petition for Name Change
              (not medical or legal)                          Case Matter                                      Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                        Writ—Other Limited Court Case                              Claim
 Employment                                                   Review                                           Other Civil Petition
     Wrongful Termination (36)                        Other Judicial Review (39)
      Other Employment (15)                               Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 20071                            CIVIL CASE COVER          SHEET                                                    Page 2 of 2
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    sHORrTiTLE: gradley D. McMartin v. The 3M Company, et aI.                                             CA6E NUMBER




                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

~             This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.                                        ~




       Step 1:     After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


       Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


       Step 3: In Column C, circle the number which explains the reason for the court filing location you have
               chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.

2. Permissive filing in central district.                                                8. Location wherein defendant/respondentfunctions wholly.

3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                  10.Location of Labor Commissioner Office.
                                                                                        11.Mandatoryfiling Iocation (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                             B :                                                      C
                     Civil Case Cover Sheet                                             Type of Action.                                         Applicable Reasons -
                           Category No.                                                (Check only one)                                          See Step 3 Above °

                             Auto (22)              ❑    A7100 Motor Vehicle - Personal Injury/Properry Damage/Wrongful Death               1, 4, 11


                     Uninsured Motorist (46)        ❑    A7110 Personal Irnjury/Property Damage/Wrongful Death — Uninsured Motorist         1, 4, 11


                                                    ❑    A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos(04)
                                                    ❑    A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11


                       Product Liability (24)       ❑    A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11


                                                    ❑    A7210 Medical Malpractice- Physicians & Surgeons                                   1, 4, 11
      E "B          Medical Malpractice (45)
                                                    ❑    A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                    ❑    A7250 Premises Liability (e.g., slip and fall)                                     1, 4, 11
                         Other Personal
                         Injury Property            ❑    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                            1, 4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                           Death ()23                                                                                                       1, 4, 11
                                                    ❑    A7270 Intentional Infliction of Emotional Distress
                                                                                                                                            1, 4, 11
                                                    El A7220 Other Personal Injury/Property DamageNVrongful Death




     LASC CIV 109 Rev. 12/18
                                                   CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
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' SHORTTITLE: Bradley D. MCMarfln v. The 3M COnlpany, et aI.                                   CASE NUMBER



                          A                                                           B                                               C Applicable
                Civil Case Cover Sheet                                           Type of Action                                    Reasons - See Step 3
                      Category No.                                              (Check only one)                                         Above


                  Business Tort (07)          ❑   A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3


                    Civil Rights (08)         ❑   A6005 Civil Rights/Discrimination                                                1, 2, 3


                    Defamation (13)           ❑   A6010 Defamation (slanderflibel)                                                 1, 2, 3


                        Fraud (16)            ❑   A6013 Fraud (no contract)                                                        1, 2, 3


                                              ❑   A6017 Legal Malpractice                                                          1, 2, 3
              Professional Negligence (25)
                                              ❑   A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3


                        Other (35)            ❑   A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


               Wrongful Termination (36)      ❑   A6037 Wrongful Termination                                                       1, 2, 3
     c
     a,
     E
     a
     0                                        ❑   A6024 Other Empioyment Complaint Case                                            1, 2, 3
     n.         Other Employment (15)
     E                                        ❑   A6109 Labor Commissioner Appeals                                                 10
     w

                                              ❑   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2,5
                                                        eviction) "
              Breach of Contract/ Warranty                                                                                         2,5
                           (06)               ❑   A6008 Contractarranty
                                                              /W        Breach -Seller Plaintiff (no fraud/negligence)
                      (not insurance)         ❑   A6019 Negligent Breach of ContractM/arranty (no fraud)                           1, 2, 5
                                                                                                                                   1, 2, 5
                                              ❑   A6028 Other Breach of Contract/Wan-anty (not fraud or negligence)

                                              ❑   A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                      Collections (09)
                                              ❑   A6012 Other Promissory Note/Collections Case                                     5,11
                                              ❑   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                        Purchased on or after January 1 2014

                Insurance Coverage (18)       ❑   A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8


                                              ❑   A6009 Contractual Fraud                                                          1, 2, 3, 5

                   Other Contract (37)        ❑   A6031 Tortious Interference                                                      1, 2, 3, 5

                                              ❑   A6027 Other Contract Dispute(not breach/insurancelfraud/negligence)              1, 2, 3, 8, 9

                Eminent Domain/inverse
                                              ❑   A7300 Eminent Domain/Condemnation                Number of parcels               2,6
                  Condemnation (14)
     M
                 Wrongful Eviction (33)       ❑   A6023 Wrongful Eviction Case                                                     2,6


                                              ❑   A6018 Mortgage Foreclosure                                                       2,6

                Other Real Property (26)      ❑   A6032 Quiet Title                                                                2,6

                                              ❑   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

              Unlawful Detainer-Commercial                                                                                         6,11
                                              ❑   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                          (31)

              Unlawful Detainer-Residential
                                              ❑   A6020 UnlawFul Detainer-Residential (not drugs or wrongful eviction)             6,11
                             32
                   Unlawful Detainer-
                                              ❑   A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6, 11
                  Post-Foreclosure 34

              Unlawful Detainer-Drugs (38)    ❑   A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                              CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
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sr+ORTTrrLE: pradley D. McMartin v. The 3M Company, et al.                                    CASE NUMBER




                          A .                                                        B                                        C Applicable .
               Civil.Case Cover Sheet                                           Type of Action                             Reasons • See Step 3
                     Categdry No.                                              (Check only one)                                  Above

                Asset Forfeiture (05)         ❑   A6108 Asset Forfeiture Case                                              2, 3, 6


              Petition re Arbitration (11)    ❑   A6115 Petition to Compel/ConfirmlVacate Arbitration                      2,5
    3
    d
   .~
    a~                                        ❑   A6151 Writ - AdministrativeMandamus                                      2,8
    ~
    cc                                        ❑   A6152 Writ - Mandamus on Limited Court Case Matter                       2
    ~v           Writ of Mandate (02)
    a~                                                                                                                     2
                                              ❑   A6153 Writ - Other Limited Court Case Review
    ~

              Other Judicial Review (39)      ❑   A6150 Other Writ /Judicial Review                                        2,8


            Antitrust/Trade Regulation (03)   ❑   A6003 Antitrust/Trade Regulation                                         1, 2, 8


               Construction Defect (10)       ❑   A6007 Construction Defect                                                1, 2, 3

              Claims Involving Mass Tort      p                                                                            1, 2, 8
                                                  A6006 Claims Involving Mass Tort
                         (40)

               Securities Litigation (28)     ❑   A6035 Securities Litigation Case                                         1, 2, 8

                      Toxic Tort
                                              ❑   A6036 Toxic Tort/Environmental                                           1, 2, 3, 8
                  Environmental (30)

             Insurance Coverage Claims
                                                  A6014 Insurance Coverage/Subrogation (complex case only)                 1, 2, 5, 8
               from Complex Case (41)
                                      TC]
                                              ❑   A6141 Sister State Judgment                                              2, 5, 11

                                              ❑   A6160 Abstract of Judgment                                               2,6

                                              ❑   A6107 Confession of Judgment (non-domestic relations)                    2,9
                     Enforcement
                   of Judgment (20)           ❑   A6140 Administrative Agency Award (not unpaid taxes)                     2,8

                                              ❑   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax           2,8

                                              ❑   A6112 Other Enforcement of Judgment Case                                 2, 8, 9


                      RICO (27)               ❑   A6033 Racketeering (RICO) Case                                           1, 2, 8


                                              ❑   A6030 Declaratory Relief Only                                            1, 2, 8

                                              ❑   A6040 Injunctive Relief Only (not domestic/harassment)                   2,8
                  Other Complaints
              (Not Specified Above) (42)      ❑   A6011 Other Commercial Complaint Case (non-tort/non-complex)             1, 2, 8
  ~ U>
                                              ❑   A6000 Other Civil Complaint (non-tort/non-complex)                       1, 2, 8

               Partnership Corporation        p                                                                            2,8
                                                  A6113 Partnership and Corporate Govemance Case
                  Govemance (21)

                                              ❑   A6121 Civil Harassment With Damages                                      2, 3, 9

                                              ❑   A6123 Workplace Harassment With Damages                                  2, 3, 9

                                              ❑   A6124 Elder/DependentAdult Abuse Case With Damages                       2, 3, 9
                  Other Petitions (Not
                 Specified Above) (43)        ❑   A6190 Election Contest                                                   2
  ~ c)                                        ❑   A6110 Petition for Change of Name/Change of Gender                       2, 7
                                              ❑   A6170 Petition for Relief from Late Claim Law                            2 3 8
                                              ❑   A6100 Other Civil Petition                                               2,9




                                              CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
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 SHORTTITLE: Bradley D. MCMartln v. The 3M Company, et aI.                         GASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).                                                                               '

                                                                ADDRESS:
   REASON:                                                                            9402 San Juan Avenue,

    n1. -12. -13.F4.n5.n6. -17. F8.n 9.n10.n11.



   CITY:                                 STATE:     ZIP CODE:

   South Gate                           I CA       1 90280


Step 5: Certification of Assignment: I certify that this case is properly filed in the                               District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




           2'23'22
  Dated:
                                                                                (SIGNATItR~tF~        [aC~}fi~~"' f




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COiVIMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court orderforwaiver, partial orscheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order'to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. 'Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




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                                                                                  22STCV06558
Electronically FILED by Superior Court of California, County of Los Angeles on 02/23/2022 09:51 AM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Miramontes,Deputy Clerk
                                    Assigned for all purposes to: Spr'ing Street Courthouse, Judicial Officer: Jill Feeney




                           BORDIN SEMMER LLP
                           Joshua Bordin-Wosk, State Bar No. 241077
                    2      ibordinwosk a,bordinsemmer.com
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                           6100 Center Drive, Suite 1100
                    4      Los Angeles, California 90045
                           Telephone: (323) 457-2110
                    5      Facsimile: (323) 457-2120

                    6      Attomeys for Plaintiffs

                    7

                    8                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    9                                                       COUNTY OF LOS ANGELES

                  10

                  11 BRADLEY D. MCMARTIN, an individual;                                                    CaseNo.:            22ST'CV06558
                     WALTER MADDOCKS, an individual;
                  12 RODNEY COOPER, an individual,; DAVID                                                   COMPLAINT REGARDING AQUEOUS
                     CAROLAN, an individual; MICHAEL                                                        FILM-FORMING FOAMS PRODUCTS
                  13 CAMELLO, an individual; ALEXANDER                                                      LIABILITY LITIGATION
                     SOLIS, an individual; JEFF HOWE, an
                  14 individual; MICHAEL BRADLEY, an                                                        DEMAND FOR JURY TRIAL
                     individual; NEAL LOWRY, an individual;
                  15 PATRICK CRADDICK, an individual;
                     ALEJANDRO HAUA, an individual; THOMAS
                  16 MCLAUGHLIN, an individual; LUIS
                     GERARDO DEL CID, an individual; JOSEPH
                  17 SHUMACHER, an individual; ROBERT PERA,
                     an individual; MICHAEL DUBRON, an
                  18 individual; DAVID ROSE, an individual; DOUG
                     SUTHERLAND, an individual; ROBERT
                  19 HARMON, an individual; HARRY WONG, an
                     individual; MICHAEL ALBARRAN, an
                  20 individual; TOM FAHRNY, an individual;
                     JANEL PHILLIPS, individually and as
                  21 Successor-In-Interest to becedent GLEN
                     PHILLIPS; OLIVER KING, an individual;
                  22 SCOTT STEPHENS, an individual, DIRK
                     FLORES, an individual; DANIEL ZUBAK, an
                  23 individual; KELLY ABADIE, an individual;
                     ALVIN BLADES, an individual; LES
                  24 FITZGERALD, an individual; RANDALL
                     SMITH, an individual; DENNIS STANDROD,
                  25 an individual; MARK ASHLEY, an individual;
                     BLAIR WEIN, an individual; TIlV10THY
                  26 JONES, an individual; MARK BENNETT, an
                     individual; and VICENTE CASAS, an
                  27 individual;

                   28                            Plaintiffs,


                                                                                            COIVIPLAINT
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           vS.

 2 THE 3M COMPANY, f/k/a Minnesota Mining
   and Manufacturing Co., AGC CHElV1ICALS
 3 AMERICAS INC., AMEREX CORPORATION,
   ARKEMA INC., ARCHROMA
 4 MANAGEMENT LLC, BASF CORPORATION,
   individually and as successor in interest to Ciba
 5 Inc., BUCKEYE FIlZE EQUIPMENT
   COMPANY, CARRIER GLOBAL
 6 CORPORATION, CHEMDESIGN PRODUCTS
   INC., CHEMGUARD INC. CHEMICALS, INC.,
 7 CLARIANT CORPORATION, individually and
   as successor in interest to Sandoz Chemical
   Corporation, CORTEVA, INC., individually and
   as successor in interest to DuPont Chemical
 9 Solutions Enterprise, DEEPWATER
   CHEMICALS, INC., DUPONT DE NEMOURS
10 INC., individually and as successor in interest to
   DuPont Chemical Solutions Enterprise, DYNAX
11 CORPORATION, E. I. DUPONT DE
   NEMOURS AND COMPANY, individually and
12 as successor in interest to DuPont Chemical
   Solutions Enterprise, KIDDE-FENWAL, INC.,
13 individually and as successor in interest to Kidde
   Fire Fighting, Inc., NATION FORD CHEMICAL
14 COMPANY, NATIONAL FOAM, INC., TBE
   CHEMOURS COMPANY, individually and as
15 successor in interest to DuPont Chemical
   Solutions Enterprise, THE CHEMOURS
16 COMPANY FC, LLC, individually and' as
   successor in interest to DuPont Chemical
17 Solutions Enterprise, and TYCO FIRE. -
   PRODUCTS, LP, individually and as successor
18 in interest to The Ansul Company,

19                 Defendants.

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                                              COIVIPLAINT
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1         Plaintiffs BRADLEY D. MCMARTIN, an individual; WALTER MADDOCKS, an

2 individual; RODNEY COOPER, an individual; DAVID CAROLAN, an individual; MICHAEL

3 CAMELLO, an individual; ALEXANDER SOLIS, an individual; JEFF HOWE, an individual;

 4 MICHAEL BRADLEY, an individual; NEAL LOWRY, an individual; PATRICK CRADDICK, an

 5 individual; ALEJANDRO HAUA, an individual; THOMAS MCLAUGHLIN, an individual; LUIS

 6 GERARDO DEL CID, an individual; JOSEPH SHUMACHER, an individual; ROBERT PERA, an

 7 individual; MICHAEL DUBRON, an individual; DAVID ROSE, an individual; DOUG

 8 SUTHERLAND, an individual; ROBERT HARMON, an individual; HARRY WONG, an

 9 individual; MICHAEL ALBARRAN, an individual; TOM FAHRNY, an individual; JANEL

10 PHILLIPS, individually and as Successor-In-Interest to Decedent GLEN PHII,LIPS; OLIVER

11 KING, an indi.vidual; SCOTT STEPHENS, an individual; DIRK FLORES, an individual; DANIEL

12 ZUBAK, an individual; KELLY ABADIE, an individual; ALVIN BLADES, an individual; LES

13 FITZGERALD, an individual; RANDALL SMITH, an individual; DENNIS STANDROD, an

14 individual; MARK ASHLEY, an individual; BLAIR WEIN, an individual; TIMOTHY JONES, an

15 individual; MARK BENNETT, an individual; and VICENTE CASAS, an individual ("Plaintiffs"),

16 by and through their undersigned counsel, hereby file this Complaint against Defendants, THE 3M

17 COMPANY, f/k/a Minnesota Mining and Manufacturing Co., AGC CHEMICALS AMERICAS

18 INC., AMEREX CORPORATION, ARKEMA INC., ARCHROMA MANAGEMENT LLC, BASF

19 CORPORATION, individually and as successor in interest to Ciba Inc., BUCKEYE FIRE

20 EQUIPMENT COMPANY, CARRIER GLOBAL CORPORATION, CHEMDESIGN PRODUCTS

21 INC., CHEMGUARD INC. CHEMICALS, INC., CLARIANT CORPORATION, individually and

22 as successor in interest to Sandoz Chemical Corporation, CORTEVA, INC., individually and as

23 successor in interest to DuPont Chemical Solutions Enterprise, DEEPWATER CHEMICALS, INC.,

24 DUPONT DE NEMOURS INC., individually and as successor in interest to DuPont Chemical

25 Solutions Enterprise, DYNAX CORPORATION, E. I. DUPONT DE NEMOURS AND

26 COMPANY, individually and as successor in interest to DuPont Chemical Solutions Enterprise,

27 KIDDE-FENWAL, INC., individually and as successor in interest to Kidde Fire Fighting, Inc.,

28 NATION FORD CHEMICAL COMPANY, NATIONAL FOAM, INC., TIHE CHEMOURS

                                                 3
                                             COMPLAINT
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 1 COMPANY, individually and as successor in interest to DuPont Chemical Solutions Enterprise, THE

 2 CHEMOURS COMPANY FC, LLC, individually and as successor in interest to DuPont Chemical

 3 Solutions Enterprise, and TYCO FIRE PRODUCTS, LP, individually and as successor in interest to

 4 The Ansul Company (collectively, "Defendants"), and alleges, upon information and belief, as

 5 follows:

 6                                             INTRODUCTION

 7          1.     Plaintiffs, on behalf of themselves and as successors in interest, bring this action for

 8 damages sustained resulting from the use and exposure to aqueous film-forming foam ("AFFF")

 9 products that contained per-and poly-fluoroalkyl substances ("PFAS"), including perfluorooctane

10 sulfonate ("PFOS") and perfluorooctanoic acid ("PFOA").

11          2.      PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS, PFOA,

12 and/or their chemical precursors, are or were components of AFFF products, which are firefighting

13 suppressant agents used in training and firefighting activities for fighting Class B fires. Class B fires

14 include fires involving hydrocarbon fuels such as petroleum or other flammable liquids.

15          3.      PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

16 in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

17 associated with multiple and significant adveise health effects in humans, including but not limited

18 to lymphoma, throat cancer, bladder cancer, thyroid cancer, kidney cancer, rectal cancer, colon

19 cancer, prostate cancer, colorectal carcinoid tumor, leukemia, and testicular cancer.

20          4.      At various times from the 1960s through today, Defendants designed, manufactured,

21 marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or their chemical

22 precursors, and/or designed, manufactured, marketed, distributed, and/or sold the fluorosurfactants

23 and/or perfluorinated chemicals ("PFCs") contained in AFFF (collectively, "AFFF/Component

24 Products").

25          5.      Defendants     designed,    manufactured,    marketed,     distributed,   and/or   sold

26 AFFF/Component Products with the knowledge that these toxic compounds would be

27 released into the environment during fire protection, training, and response activities,

28 even when used as directed and intended by Defendants.

                                                       4
                                                 COMPLAINT
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 1          6.      Since its creation in the 1960s, AFFF designed, manufactured, marketed, distributed, I

 2 and/or sold by Defendants, and/or t.hat contained fluorosurfactants and/or PFCs designed,

 3   manufactured, marketed, distributed, and/or sold by Defendants, used as directed and intended by

 4 Defendants, and subsequently released into the environment during fire protection, training and

 5   response activities; resulting in widespread PFAS contamination.

 6          7.      Plaintiffs are firefighters, mechanics, and/or military personnel who worked and/or I

 7 trained at various locations that have sustained injuries and damages as a result of direct, secondary, ~

 8 and/or take-home exposure to Defendants' AFFF/Component Products containing PFOS, PFOA, I

 9 and/or their chemical precursors.

10          8.      Over the course of the past several decades, Plaintiffs were routinely exposed to PFAS I

11 I at the fire departments, airports, storage centers, or training centers, where AFFF products containing I

12 I PFOS, PFOA, and/or their chemical precursors were used, handled, and stored, resulting inl

13 significant personal ipjuries and death.

14          9.      Plaintiffs used•these AFFF products in their intended manner and without significant

15 change in the products' condition. Unaware of the dangerous properties of Defendants'

16 AFFF/Component Products,:Plaintiffs relied on inadequate warnings and instructions provided by

17 Defendants regarding the proper methods for handling and storing the products. Plaintiffs' use,

18 Iconsumption, inhalation, ingestion, and/or dermal absorption of PFAS from Defendants'

19 AFFF/Component Products has caused them to.develop numerous serious medical conditions,

20 including, but not limited to, lymphoma, throat cancer, bladder cancer, thyroid cancer, kidney

21 cancer, rectal cancer, coloii cancer, prostate cancer, colorectal carcinoid tumor, leukemia, and
   I
22 I testicular cancer.

23          10.     Providing the public service of suppressing fires is dangerous and Defendants further

24 II increased the occupational risk to Plaintiffs by designing, manufacturing, marketing and/or
25 I distributing AFFF/Component Products, knowing full well that those products were dangerous
26 II because they contained PFOS, PFOA, and/or their chemical precursors.
27
28


                                                  COMPLAINT
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 1                                   JURISDICTION AND VENUE

 2,        11.     Pursuant to Article VI, Section 10 of the California Constitution, subject matter

 3 jurisdiction is proper in the Superior Court of Califomia, County of Los Angeles;

 4         12.     Pursuant to Section 395 of the California Code of Ci>>il Procedure, venue is proper

 5 in the Superior Court of California for the County of Los Angeles, because the Defendants

 6 conducted business in Los Angeles County.

 7                                               PARTIES

 8         A.      Plaintiffs

 9         13.     Plaintiff Bradley D. McMartin ("Plaintiff McMartin") currently resides at 16737

10 Tiara Court, Canyon Country, California 91387.

11          14.    Plaintiff McMartin worked as a firefighter for the City of Glendale for over thirty

12 years. During Plaintiff McMartin's employment as a firefighter, he was exposed to significantly

13 elevated levels of PFAS as a result of regular contact with and use of Defendants'

14 AFFF/Component Products.

15          15.    Plaintiff McMartin used AFFF containing PFAS, used equipment/gear coated with

16 materials containing and/or contarriinated with PFAS, and was otherwise exposed to elevated levels

17 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

18 dermal absorption of Defendants' AFFF/Component    Products.
                                               :: :.
                                              ;~
19        16.    Plaintiff McMartin was diagnos~l..with Lymphoma in 2017 as a direct and

20 proximate result of his exposure to PFAS and is at aa iiici-eased risk of developing several other

21 serious health conditions.

22          17.    Plaintiff Waltei• Maddocks ("Pliaintiff Maddocks") currently resides at 304 Plaza

23 Cabana, San Clemente, California 92673.

24          18.    Plaintiff Maddocks has worked as a firefighter. During Plaintiff Maddocks'

25 employment as a firefighter, he was exposed to significantly elevated levels of PFAS as a result of

26 regular contact with and use of Defendants' AFFF/Component Products.

27          19.    Plaintiff Maddocks used AFFF containing PFAS, used equipmerit/gear coated with

28 materials containing and/or contaniinated with PFAS, and was otherwise exposed to elevated levels

                                                      6
                                                COMPLAINT
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 1 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

 2 dermal absorption of Defendants' AFFF/Component Products.

 3         20.     Plaintiff Maddocks has been diagnosed with throat cancer as a direct and proximate

 4 result of his exposure to PFAS and is at increased risk of developing several other serious health

 5 conditions.

 6         21.     Plaintiff Rodney Coopei- ("Plaintiff Cooper") currently resides at 28960 Rock

 7 Canyon Road, Santa Clarita, California 91390.

 8         22.     Plaintiff Cooper worked as a firefighter for Los Angeles County Fire Department

 9 from approximately 1978 to 2012. During Plaintiff Cooper's employment as a firefighter, he was

10 exposed to significantly elevated levels of PFAS as a result of regular contact with and use of

11 Defendants' AFFF/Component Products.

12         23.     Plaintiff Cooper used AFFF containing PFAS, used equipment/gear coated with

13 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

14 of PFAS as a direct and proximate result of his use; consumption, inhalation, ingestion, and/or

15 dermal absorption of-Defendants' AFFF/Component Products.

16          24.    Plaintiff Cooper was diagnosed with colon cancer in 2007 and with prostate cancer

17 in 2011 as s a direct and proximate result of his exposure to PFAS and is at an increased risk of

18 developing several other serious health conditions. He underwent surgery to have a portion of his

19 colon removed and to have'his prostate removed. He has sustained significant health complications

20 and emotional distress due to his exposure to PFAS.

21          25.    Plaintiff David Carolan ("Plaintiff Carolan") currently resides at 32772 Matthew

22 Drive, Dana Point, California 92629.

23          26.    Plaintiff Carolan worked as a firefighter for the Los Angeles County Fire

24 Department. During Plaintiff Carolan's employment as a firefighter, he was exposed to

25 significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

26 AFFF/Component Products.

27          27.    Plaintiff Carolan used AFFF containing PFAS, used equipment/gear coated with

28 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

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 1 of PFAS as a direct and proximate result of his tise, consumption, inhalation, ingestion, and/or

 2 dermal absorption of Defendants' AFFF/Component Products.

 3         28.     Plaintiff Carolan was diagnosed with prostate cancer in 2002 as a direct and

 4 proximate result of his exposure to PFAS and is at an increased risk of developing several other

 5 serious health conditions. He has had his prostate surgically removed and still suffers from bladder

 6 and colon issues, along with significant emotional distress.

 7          29.    Plaintiff Michael Camello .("Plaintiff Camello") currently resides at 31588 Corte

 8 Rosario, Temecula, California 92592.

 9          30.    Plaintiff Camello worked as a firefighter for the Los Angeles Fire Department from

10 1977 until around 1980 when he was promoted to working as an arson investigator. He worked as a

11 fire investigator until he retired in 2013. During Plaintiff Camello's employment as a firefighter

12 and fire investigator, he was exposed to significantly elevated levels of PFAS as a result of regular

13 contact with and use of Defendants' AFFF/Component Products.

14          31.    Plaintiff Camello used AFFF containing PFAS, used equipment/gear coated with

15 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

16 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

17 dermal absorption of Defendants' AFFF/Component Products.

18          32.    Plaintiff Camello was diagnosed with prostate cancer as a direct and proximate

19 result of his exposure to PFAS and is at an increased risk of developing several other serious health

20 conditions.

21          33.    Plaintiff Alexandei• Solis ("Plaintiff Solis") currently resides at 38410 Shoal Creek

22 Drive, Murrieta, California 92562.

23          34.    Plaintiff Solis has worked as a firefighter. During Plaintiff Solis' employment as a

24 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

25 with and use of Defendants' AFFF/Component Products.

26          35.    Plaintiff Solis used AFFF containing PFAS, used equipment/gear coated with

27 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

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1 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

2 dermal absorption of Defendants' AFFF/Component Products.

3          36.     Plaintiff Solis had his kidney removed and has been diagnosed with having a

 4 neuroendocrine tumor as a direct and proximate result of his exposure to

 5 PFAS and is at an increased risk of developing several other serious health

 6 conditions.

 7         37.     Plaintiff Jeff Howe ("Plaintiff Howe") currently resides at 1324 Twin Tides Place,

 F. Oxnard, California 93 03 5.

 9         38.     Plaintiff Howe worked as a firefighter for the City of Burbank for over 35 years.

10 During Plaintiff Howe's employment as a firefighter, he was exposed to significantly elevated

11 levels of PFAS as a result of regular contact with and use of Defendants' AFFF/Component

12 Products.

13          39.    Plaintiff Howe used AFFF containing PFAS, used equipment/gear coated with

14 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

15 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

16 dermal absorption of Defendants' AFFF/Component Products.

17          40.    Plaintiff Howe was diagnosed with a colorectal carcinoid tumor in 2012 as a direct

18 and proximate result of his exposure to PFAS and is at an increased risk of developing several

19 other serious health conditions.

20          41.    Plaintiff Michael Bradley ("Plaintiff Bradley") currently resides at 2503 Edam

21 Street, Lancaster, California 93536.

22          42.    Plaintiff Bradley worked as a firefighter for the Los Angeles County Fire

23 Department from approximately 1988 to 2020. Before then, he worked at a United States Airforce

24 plant from approximately 1983 to 1988. During Plaintiff Bradley's employment, he was exposed

25 to significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

26 AFFF/Component Products.

27          43.    Plaintiff Bradley used AFFF containing PFAS, used equipment/gear coated with

28 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

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 1 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

 2 dermal absorption of Defendants' AFFF/Component Products.

 3         44.     Plaintiff Bradley was diagnosed with chronic lymphocytic leukemia in 2017 as a

 4 direct and proximate result of his exposure to PFAS and is at an increased risk of developing

 5 several other serious health conditions. Should Plaintiff Bradley's condition worsen, he will be

 6 forced to undergo bone marrow transplants, blood transfusions, radiation and/or chemotherapy.

 7         45.     Plaintiff Neal Lowiy ("Plaintiff Lowry") currently resides at 14 Pacific Grove

 8 Drive, Aliso Viejo, California 92656.

 9          46.    Plaintiff Lowry has worked as a firefighter for the City of Santa Fe Springs for

10 approximately 32 years. During Plaintiff Lowry's employment as a firefighter, he was exposed to

11 significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

12 AFFF/Component Products.

13          47.    Plaintiff Lowry used AFFF containing PFAS, used equipment/gear coated with

14 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

15 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

16 dermal absorption of Defendants' AFFF/Component Products.

17          48.    Plaintiff Lowry was diagnosed with testicular cancer in 2004 as a direct and

18 proximate result of his exposure to PFAS and is at an increased risk of developing several other

19 serious health conditions.

20          49.    Plaintiff Patrick Craddick ("Plaintiff Craddick") currently resides at 5010 Club

21 Terrace Drive, Yorba Linda, Califomia 92886.

22          50.    Plaintiff Craddick worked as a firefighter for Santa Fe Springs Fire Department for

23 over 30 years. During Plaintiff Craddick's employment as a firefighter, he was exposed to

24 significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

25 AFFF/Component Products.

26          51.   . Plaintiff Craddick used AFFF containing PFAS, used equipment/gear coated with
27 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

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 1 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

 2 dermal absorption of Defendants' AFFF/Component Products.

 3            52.    Plaintiff Craddick was diagnosed with thyroid cancer in 2012 as a direct and

 4 proximate result of his exposure to PFAS and is at an increased risk of developing several other

 5 serious health conditions.

 6            53.    Plaintiff Alejandi•o Haua ("Plaintiff Haua") currently resides at 19372 Jasper Hill

 7 Road, Trabuco Canyon, California 92679.

 8            54.    Plaintiff Haua worked as a firefighter. During Plaintiff Haua's employment as a

 9 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

       with and use of Defendants' AFFF/Component Products.

11            55.    Plaintiff Haua used AFFF containing PFAS, used equipment/gear coated with

12 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

13 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

14 dermal absorption of Defendants' AFFF/Component Products.

15            56.    Plaintiff Haua has been diagnosed with prostate cancer as a direct and proximate

16 result of his expbsure to PFAS and is at an increased risk of developing several other serious health

17 conditions.            •

18            57.     Plaintiff Thomas McLaughlin ("Plaintiff McLaughlin") currently resides at 34755

19 Garlock Road, Acton, C•alifornia 93510.

20            58.     Plaintiff McLaughlin worked as a firefighter for the Glendale Fire Department for

21 over twenty years. Before then, he served in the United States Navy for approximately five (5)

22 years. During Plaintiff McLaughlin's service for the United States Navy and during his

23     employment as'a firefighter, he was exposed to significantly elevated levels of PFAS as a result of
  I
24 regular contact with and use of Defendants' AFFF/Component Products.

25 I          59.     Plaintiff McLaughlin used AFFF containing PFAS, used equipment/gear coated

26 I with materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated

27 levels of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion,

28 I and/or dermal ab.sorption of Defendants' AFFF/Component Products.



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 1         60.     Plaintiff McLauglilin was diagnosed with testicular cancer in 2014 as a direct and

 2 proximate result of his exposure to PF.:1S and is at an increased risk of developing several other

 3 serious health conditions. Plaintiff McLaughlin underwent chemotherapy treatment and lost a

 4 testicle as a result of his diagnosis. He still experiences bladder problems, low testosterone and

 5 emotional distress to this day.

 6          61.    Plaintiff Luis Gerardo Del Cid ("Plaintiff Del Cid") currently resides at 9402 San

 7 Juan Avenue, South Gate, California 90280.

 8          62.    Plaintiff Del Cid works as a Fire Equipment Mechanic for Los Angeles County Fire

 9 Department. During Plaintiff Del Cid's employment as a firefighter, he was exposed to

10 significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

11 AFFF/Component Products.

12          63.    Plaintiff Del Cid used AFFF containing PFAS, used equipment/gear coated with

13 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

14 of PFAS as a direct and proximate result of }iis use, consumption, inhalation, ingestion, and/or

15 dermal absorption of Defendants' AFFF%Component Products.

16          64.    Plaintiff Del Cid was diagnosed With colon cancer in 2017 as a direct and proximate

17 result of his exposure to PFAS and is at an increased risk of developing several other serious health

18 conditions.

19          65.    Plaintiff Joseph Shunnachei• ("Plaintiff Shumacher") currently resides at 7206

20 Princess Anne Court, Warrenton, Virginia 20187.

21          66.    Plaintiff Shumacher worked as a firefighter for the City of Fairfax, Virginia. During

22 Plaintiff Shumacher's employment as a firefighter, he was exposed to significantly elevated levels

23 of PFAS as a result of regular contact with and use of Defendants' AFFF/Component Products.

24          67.    Plaintiff Schumacher used AFFF containing PFAS, used equipment/gear coated

25 with materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated

26 levels of PFAS as a direct and proximate resuft of his use, consumption, inhalation, ingestion,

27 and/or dermal absorption of Defendants' AFFF/Component Products.

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1          68.     Plaintiff Shumacher has been diagnosed with testicular cancer and Lymphoma as a

 2 direct and proximate result of his exposure to PFAS and is at an increased risk of developing

 3 several other serious health conditions.

 4         69.     Plaintiff Robert Pera ("Plaintiff Pera") currently resides at 5410 Driftwood Street,

 5 Apt. A, Oxnard, California 93035..

 6         70.     Plaintiff Pera worked as a firefighter for Los Angeles County Fire Department from

 7 1998 to approximately 2017. Before then, Plaintiff Pera worked at airport and naval bases for the

 8 United States Department of Defense. During Plaintiff Pera's employment, he was exposed to

 9 signiricantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

10 AFFF/Component Products.

11         71.     Plaintiff Pera used AFFF containing PFAS, used equipment/gear coated with

12 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

13 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

14 dermal absorption of Defendants' AFFF/Component Pi-oducts.

15          72.    Plaintiff Pera was diagnosed with bladder cancer in 2017 as a direct and proximate

16 result of his exposure to PFAS and is at an increased risk of developing several other serious health

17 conditions.

18          73.    Plaintiff Michael Dubron ("Plaintiff Dubron") currently resides at 22533 Cardiff

19 Drive, Saugus, California 91350.

20          74.    Plaintiff Dubron has worked as a firefighter for Los Angeles County Fire

21 Department since 1991. Before then, Plaintiff Dubron worked on air force bases as a firefighter.

22 During Plaintiff Dubron's employment, he was exposed to significantly elevated levels of PFAS as

23 a result of regular contact with and use of Defendants' AFFF/Component Products.

24          75.    Plaintiff Dubron used AFFF containing PFAS, used equipment/gear coated with

25 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

26 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

27 dermal absorption of Defendants' AFFF/Component Products.

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1          76.     Plaintiff Dubron was diagnosed with colon cancer in 2003 as a direct and proximate

 2 result of his exposure to PFAS and is at an increased risk of developing several other serious health

 3 conditions.

 4         77.     Plaintiff David Rose ("Plaintiff Rose") currently resides at 14460 Sunset Ridge,

 5 Riverside, California 92503.

 6         78.     Plaintiff Rose has worked as a firefighter since approximately 1982. During Plaintiff

 7 Rose's employment as a firefighter, he was exposed to significantly elevated levels of PFAS as a

 8 result of regular contact with and use of Defendants' AFFF/Component Products.

 9          79.    Plaintiff Rose used AFFF containing PFAS, used equipment/gear coated with

10 materials containing and/sr contaminated with PFAS, and was otherwise exposed to elevated levels

11 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

12 dermal absorption of Defendants' AFFF/Componont Products.

13          80.    Plaintiff Rose was diagnosed with metastatic prostate cancer in 2019 as a direct and

14 proximate result of his exposure to PFAS and is at an increased risk of developing several other

15 serious health conditions.

16          81.    Plaintiff Doug Sutherland ("Plaintiff Sutherland") currently resides at 619 19th

17 Street, Unit C, Huntington Beach, Calif6rnia 92648.

18          82.    Plaintiff Sutherland worked as a firefighter for the Los Angeles County Fire

19 Department. During Plaintiff Sutherland's employment as a firefighter, he was exposed to

20 significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

21 AFFF/Component Products.

22          83.    Plaintiff Sutherland used AFFF containing PFAS, used equipment/gear coated with

23 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

24 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

25 dermal absorption of Defendants' AFFF/Component Products.

26          84.    Plaintiff Sutherland was diagnosed with thyroid cancer as a direct and proximate

27 result of his exposure to PFAS and is at an increased risk of developing several other serious health

28 conditions.

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1          85.     Plaintiff Robert Harmon ("Plaintiff Harmon") currently resides at 2967 Glenberry

2 Court, Fullerton, California 92835.

3          86.     Plaintiff Harmon worked as a firefighter for Los Angeles County Fire Deparhnent.

 4 During Plaintiff Harmon's employment as a firefighter, he was exposed to significantly elevated

 5' levels of PFAS as a result of regular contact with and use of Defendants' AFFF/Component

 6 Products.

 7         87.     Plaintiff Harmon used AFFF containing PFAS, used equipment/gear coated with I

 8 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

 9 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or dermal

10 absorption of Defendants' AFFF/Component Products.

11          88.    Plaintiff Harmon was diagnosed with prostate cancer as a direct and proximate result

12 of his exposure to PFAS and is at an increased risk of developing several other serious health

13 conditions.

14          89.    Plaintiff Hariy Wong ("Plaintiff Wong") currently resides at 13602 Leibacher,

15 I Norwalk, California 90650.

16          90.    Plaintiff Wong has worked as a Fire Equipment Mechanic for Los Angeles County

17 since approximately 2003. During Plaintiff Wong's employment, he was exposed to significantly

18 elevated levels of PFAS as a result of regular contact with and use of Defendants'

19 I AFFF/Component Products.

20          91.    Plaintiff Wong used AFFF containing PFAS, used equipment/gear coated with

21 I materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

22 I of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

23 I dermal absorption of Defendants' AFFF/Component Products.

24          92.    Plaintiff Wong was diagnosed with kidney cancer in 2016 as a direct and proximate

25 result of his exposure to PFAS and is at an increased risk of developing several other serious health

26 conditions. He was recently diagnosed with cancer again after having already lost his kidney.

27          93.    Plaintiff Michael Albarran ("Plaintiff Albarran") currently resides at 3026 Volk

28 I Avenue, Long Beach, California 90808.


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 1         94.     Plaintiff Albarran worked as a firefighter for the Long Beach Fire Department.

 2 During Plaintiff Albarran's employment as a firefighter, he was exposed

 3 to significantly elevated levels of PFAS as a result of regular contact with and use of

 4 Defendants' AFFF/Component Products.

 5         95.     Plaintiff Albarran used AFFF containing PFAS, used equipment/gear coated with

 6 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

 7 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

 8 dermal absorption of Defendants' AFFF/Component Products.

 9          96.    Plaintiff Albarran was diagnosed with colon cancer in 2007 as a direct and

10 proximate result of his exposure to PFAS and is at an increased risk of developing other serious

11 serious health conditions.

12          97.    Plaintiff Tom Fahrny ("Plaintiff Fahrny") currently resides in Anaheim, California.

13          98.    Plaintiff Fahrny worked as a firefighter for approximately 30 years. During Plaintiff

14 Fahmy's employment as a firefighter, he was exposed to significantly elevated levels of PFAS as a

15 result of regular contact with and use of Defendants' AFFF/Component Products.

16          99.    Plaintiff Fahrny used AFFF containing PFAS, used equipment/gear coated with

17 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

18 of PFAS as a direct and proximate result of his use,

19 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

20 AFFF/Component Products.

21          100.   Plaintiff Fahrny was diagnosed with prostate cancer in 2019 as a direct and

22, proximate result of his exposure to PFAS and is at an increased risk of developing several other

23 serious health conditions.

24          101.   Plaintiff Janel Phillips ("Plaintiff Phillips") currently resides at 27163 Highlands

25 Lane, Valencia, California 91354.

26          102.   Plaintiff Phillips' husband, Glen Phillips, worked for the Los Angeles Fire

27 Department. During Glen Phillips' employment as a firefighter, he was exposed

28 to significantly elevated levels of PFAS as a result of regular contact with and use of

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 1 Defendants' AFFF/Component Products.

 2         103.    Glen Phillips used AFFF containing PFAS, used equipment/gear coated with

 3 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

 4 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

 5 dermal absorption of Defendants' AFFF/Component Products.

 6         104.    Glen Phillips died as a result of colon cancer. Glen Phillips' colon cancer was

 7 caused as a direct and proximate result of his exposure to PFAS.

 8         105.    Plaintiff Oliver King ("Plaintiff King") currently resides at 22330 Meyler Street,

 9 Apt. 11, Torrance, California 90502.

10         106.    Plaintiff King worked as a firefighter for the Los Angeles County Fire Department

11 for approximately 31 years. During Plaintiff King's employment as a firefighter, he was exposed to

12 significantly elevated levels of PFAS as a result of regular contact with and use of Defendants'

13 AFFF/Component Products.

14          107.   Plaintiff King tised AFFF containing PFAS, used equipment/gear coated with

15 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

16 of PFAS as a direct and proximate result of his use,

17 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

18 AFFF/Component Products.

19          108.   Plaintiff King was diagnosed with prostate and thyroid cancer in 2017 as a direct

20 and proximate result of his exposure to PFAS and is at an increased risk of developing several

21 other serious health conditions.

22          109.   Plaintiff Scott Stephens ("Plaintiff Stephens") currently resides in Page, Arizona.

23          110:   Plaintiff Stephens worked as a firefighter for approximately 33 years. During

24 Plaintiff Stephens employment as a firefighter, he was exposed to

25 significantly elevated levels of PFAS as a result of regular contact with and use of

26 Defendants' AFFF/Component Products.

27          111.   Plaintiff Stephens used AFFF containing PFAS, used equipment/gear coated with

28 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

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 1 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

 2 dermal absorption of Defendants' AFFF/Component Products.

 3         112.    Plaintiff Stephens was diagnosed with rectal cancer in 2010 as a direct and

 4 proximate result of his exposure to PFAS and is at an increased risk of developing several other

 5 serious health conditions.

 6         113.    Plaintiff Dii-k Flores ("Plaintiff Flores") currently resides at 951 Taylor Street, #12,

 7 Vista, CA 92084.

 8         114.    Plaintiff Flores worked as a firefighter for the City of Laguna Beach. During

 9 Plaintiff Flores' employment as a firefighter, he was exposed to significantly elevated levels of

10 PFAS as a result of regular contact with and use of Defendants' AFFF/Component Products.

11         115.    Plaintiff Flores used AFFF containing PFAS, used equipment/gear coated with

12 materials containing and/or contaminated with PFAS, atid was otherwise exposed to elevated levels

13 of PFAS as a direct and proximate result of his use,

14 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

15 AFFF/Component Products.

16          116.   Plaintiff Flores was diagnosed with chronic lymphocytic leukemia as a direct and

17 proximate result of his exposure to PFAS and is at an increased risk of developing several other

18 serious health conditions.

19          117.   Plaintiff Daniel Zubak ("Plaintiff Zubak") currently resides at 3845 Goddard Way,

20 Corona, California 92882.

21          118.   Plaintiff Zubak worked as a firefighter. During Plaintiff Zubak's employment as a

22 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

23 with and use of Defendants' AFFF/Component Products.

24          119.   Plaintiff Zubak used AFFF containing PFAS, used equipment/gear coated with

25 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

26 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

27 dermal absorption of Defendants' AFFF/Component Products.

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 1         120.    Plaintiff Zubak was diagnosed with renal cancer as a direct and proximate result of

 2 his exposure to PFAS and is at an increased risk of developing several other serious health

 3 conditions.

 4         121.    Plaintiff Kelly Abadie ("Plaintiff Abadie") currently resides at 2063 Havenhurst

 5 Way, Upland, CA 91784.

 6         122.    Plaintiff Abadie worked as a firefighter. During Plaintiff Abadie's employment as a

 7 firefighter, she was exposed to significantly elevated levels of PFAS as a result of regular contact

 8 with and use of Defendants' AFFF/Component Products.

 9         123.    Plaintiff Abadie used AFFF containing PFAS, used equipment/gear coated with

10 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

11 of PFAS as a. direct and proximate result of her use,

12 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

13 AFFF/Component Products.

14          124.   Plaintiff Abadie was diagnosed with breast cancer as a direct and proximate result of

15 her exposure to PFAS and is at an increased risk of developing several other serious health

16 conditions.

17          125.   Plaintiff Alvin Blades ("Plaintiff Blades") currently resides at 16 Rancho Laguna

18 Drive, Pomona, CA 91766.

19          126.   Plaintiff Blades worked as a firefighter. During Plaintiff Blades' employment as a

20 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

21 with and use of Defendants' AFFF/Corriponent Products.

22          127.   Plaintiff Blades used AFFF containing PFAS, used equipment/gear coated with

23 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

24 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

25 dermal absorption of Defendants' AFFF/Component Products.

26          128.   Plaintiff Blades was diagnosed with a serious ailment as a direct and proximate

27 result of his exposure to PFAS and is at an increased risk of developing several other serious health

28 conditions.

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 1          129.   Plaintiff Les Fitzgei-ald ("Plaintiff Fitzgerald") currently resides at 73552 Silver

 2 Moon Trail, Palm Desert, CA 92260.

 3          130.   Plaintiff Fitzgerald worked as a firefighter. During Plaintiff Fitzgerald's

 4 employment as a firefighter, he was exposed to significantly elevated levels of PFAS as a result of

 5 regular contact with and use of Defendants' AFFF/Component Products.

 6          131.   Plaintiff Fitzgerald used AFFF containing PFAS, used equipment/gear coated with

 7 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

 8 of PFAS as a direct and proximate result of his use,

 9 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

10 AFFF/Component Products. .

11          132.   Plaintiff Fitzgerald was diagnosed with cancer as a direct and proximate result of his

12 exposure to PFAS and is at an increased risk of developing several other serious health conditions.

13          133.   Plaintiff Randall Smith ("Plaintiff Smith") currently resides at 1735 Tamarron

14 Drive, Corona, CA 92883.

15          134.   Plaintiff Smith worked as a firefighter. During Plaintiff Smith's employment as a

16 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

17 with and use of Defendants' AFFI~'/Component Products.

18          135.   Plaintiff Smith used AFFF containing PFAS, used equipment/gear coated with

19 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

20 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

21 dermal absorption of Defendants' AFFF/Component Products.

22          136.   Plaintiff Smith was diagnosed with prostate cancer as a direct and proximate result

23 of his exposure to PFAS and is at an increased risk of developing several other serious health

24 conditions.

25          137.   Plaintiff Dennis Standrod ("Plaintiff Standrod") currently resides at 23395 Modoc

26 Court, Perris, Califomia 92870.

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 1         138.    Plaintiff Standrod worked as a firefighter. During Plaintiff Standrod's employment

 2 as a firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular

 3 contact with and use of Defendants' AFFF/Component Products.

 4          139.   Plaintiff Standrod used AFFF containing PFAS, used equipment/gear coated with ,

 5 materials containing and/or contaminated. with PFAS, and was otherwise exposed to elevated levels

 6 of PFAS as a direct and proximate result of his use,

 7 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

 8 AFFF/Component Products.

 9          140.   Plaintiff Standrod was diagnosed with prostate cancer as a direct and proximate

10 result of his exposure to PFAS and is at an increased risk of developing several other serious health

11 conditions.

12          141.   Plaintiff Mark Ashley ("Plaintiff Ashley") currently resides at 10973 Eastside

13 Road, Priest River, Idaho, 83856.

14          142.   Plaintiff Ashley worked as a firefighter. During Plaintiff Ashley's employment as a

15 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

16 with and use of Defendants' AFFF/Component Products.

17          143.   Plaintiff Ashley used-AFFF containing PFAS, used equipment/gear coated with

18 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

19 of PFAS as a direct and proximate result of his use, consumption, inhalation, ingestion, and/or

20 dermal absorption of Defendants' AFFF/Component Products.

21          144.   Plaintiff Ashley was diagnosed with prostate cancer as a direct and proximate result

22 of his exposure to PFAS and is at an increased risk of developing several other serious health

23 conditions.

24          145.    Plaintiff Blair Wein ("Plaintiff Wein") currently resides at 2764 Keats Ave.,

25 Thousand Oaks, CA 91360.

26          146.    Plaintiff Wein worked as a firefighter. During Plaintiff Wein's employment as a

27 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

28 with and use of Defendants' AFFF/Component Products.

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 1         147.    Plaintiff Wein used AFFF containing PFAS, used equipment/gear coated with

 2 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

 3 of PFAS as a direct and proximate result of his use,

 4 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

 5 AFFF/Component Products.

 6          148.   Plaintiff Wein was diagnosed with prostate cancer as a direct and proximate result

 7 of his exposure to PFAS and is at an increased risk of developing several other serious health

 8 conditions.

 9          149.   Plaintiff Timothy Jones ("Plaintiff Jones") currently resides at 25345 Narbonne

10 Avenue, Lomita, California 90717,

11          150.   Plaintiff Jones worked as a firefighter. During Plaintiff Jones' employment as a

12 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

13 with a.nd use of Defendants' AFFF/Component Products.

14          151.   Plaintiff Jones used AFFF containing PFAS, used equipment/gear coated with

15 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

16 of PFAS as a direct and proximate i-esult of his use, consumption, inhalation, ingestion, and/or

17 dermal absorption of Defendants' AFFF/Component Products.

18          152.   Plaintiff Jones was diagnosed with testicular cancer as a direct and proximate result

19 of his exposure to PFAS and is at an increased risk of developing several other serious health

20 conditions.

21          153.   Plaintiff 1Vlark Bennett ("Plaintiff Bennett") currently resides at 968 N. 300 W.

22 Hurricane, Utah 84737.

23          154.   Plaintiff Bennett worked as a firefighter. During Plaintiff Bennett's employment as a

24 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact
                                -
25 with and use of Defendants' AFFF/Component Products.

26          155.   Plaintiff Bennett used AFFF containing PFAS, used equipment/gear coated with

27 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

28 of PFAS as a direct and proximate result of his use,

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 1 consumption, inhalation, ingestion, and/or dermal absorption of Defendants'

 2 AFFF/Component Products.

 3         156.    Plaintiff Bennett was diagnosed with prostate cancer as a direct and proximate result

 4 of his exposure to PFAS and is at an increased risk of developing several other serious health

 5 conditions.

 6         157.    Plaintiff Vicente Casas ("Plaintiff Casas") currently resides at 205 Capri Road, Las I

 7 Cruces, New Mexico 88005.

 8         158.    Plaintiff Casas worked as a firefighter. During Plaintiff Casas' employment as a

 9 firefighter, he was exposed to significantly elevated levels of PFAS as a result of regular contact

10 with and use of Defendants' AFFF/Component Products.

11         159.    Plaintiff Casas used AFFF containing PFAS, used equipment/gear coated with

12 materials containing and/or contaminated with PFAS, and was otherwise exposed to elevated levels

13 of PFAS as a direct and proximate result of his use, consfumption, inhalation, ingestion, and/or

14 dermal absorption of Defendants' AFFF/Component Products:

15          160.   Plaintiff Casas was diagnosed with cancer as a direct and proximate result of his

16 exposure to PFAS and is at an increased risk of developing several other serious health conditions.

17          B.     Defendants

18          161.   The term "Defendants" refers to all Defendants named herein jointly and severally.

19,                1.      The AFFF'Defendants

20          162.   The tenn "AFFF Defendants" refers collectively to Defendants 3M Company,

21 Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

22 Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

23 LLC, Johnson Controls Intemational PLC, Kiddie-Fenwal, Inc., National Foam, Inc., and Tyco

24 Fire Products L.P.

25           163. Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

26 ("3M") is a corporation organized and existing under the laws of

27 the State of Delaware, with its principal place of business located at 3M Center, St.

28 Paul, Minnesota 55144-1000.


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 1         164.    Beginning before 1970 and until at least 2002, 3M designed, manufactured, marketed,

 2 distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

 3         165.     Defendant Amerex- Corporation ("Amerex") is a corporation organized and

 4 existing under the laws of the State of Alabama, with its principal place of business located at 7595

 5 Gadsden Highway, Trussville, AL 35173.

 6         166.     Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

 7 manufacturer of hand portable and wheeled extinguishers for commercial and industrial applications.

 8         167.     In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest manufacturers

 9 of AFFF products in Europe.

10         168.     On information and belief, beginning in 2011, Amerex designed, manufactured,

11 marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

12          169.    Defendant Tyco Fire Products LP ("Tyco") is a limited partnership organized under

13 the laws of the State of Delaware, with its principal place of business located at One Stanton Street,

14 Marinette, Wisconsin 54143-2542.

15          170.    Tyco is the successor in interest of The Ansul Company ("Ansul"), having acquired

16 Ansul in 1990.

17          171.    Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

18 and sold AFFF containing PFAS, including but not limited to PFOA a.nd PFOS.

19          172.    After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

20 market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA and

21 PFOS.

22          173.    Defendant Chemguard, Inc. ("Chemguard") is a corporation organized under the

23 laws of the State of Texas, with its principal place of business located at One Stanton Street,

24 Marinette, Wisconsin 54143.

25          174.    On information and belief, Chemguard designed, manufactured, marketed,

26 distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

27          175.    On information and belief, Chemguard was acquired by Tyco International Ltd. in

28 2011.

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1          176.    Defendant Buckeye Fie-e Equipment Company ("Buckeye") is a corporation

 2 organized under the laws of the State o.f Ohio, with its principal place of business located at 110

 3 Kings Road, Kings Mountain, North Carolina 28086.

 4         177.    On information and belief, Buckeye designed, manufactured, marketed, distributed,

 5 and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

 6         178.    Defendant National Foam, Inc. ("National Foam") is a corporation organized

 7 under the laws of the State of Delaware, with its principal place of business located at 141 Junny

 8 Road, Angier, North Carolina 27501.

 9         179.    Beginning in or around 1973, National Foam designed, manufactured, marketed,

10 distributed, and sold AFFF containing PFAS, including but not limited to PFOA a.nd PFOS.

11         180.    On information and belief, National Foam currently manufactures the Angus brand of

12 AFFF products and is a subsidiary of Angus International Safety Group.

13         181.    On information and belief, National Foam merged with Chubb Fire Ltd. to form l

14 Chubb National Foam, Inc. in or around'1988.

15         182.    On information and belief, Chubb is or has been composed of different subsidiaries

16 and/or divisions, including but not limited to, Chubb Fire & Security Ltd.,

17 Chubb Security, PLC, Red Hawk Fii-e & Security, LLC, and/or Chubb National

18 Foam, Inc. (collectively referred to as"Chubb").

19          183.   On information and belief, Chubb was acquired by Williams Holdings in 1997.

20          184.   On information and belief, Angus Fire Armour Corporation had previously been

21 acquired by Williams Holdings in 1994.

22          185.   On information and belief, Williams Holdings was demerged into Chubb and Kidde

23 P.L.C. in or around 2000.

24          186.   On information and belief, when Williams Holdings was demerged, Kidde P.L.C.

25 became the successor in interest to National Foam System, Inc. and Angus Fire Armour Corporation.

26          187.   On information and belief, Kidde P.L.C. was acquired by United Technologies

27 Corporation in or around 2005.

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1          188.    On information and belief, Angus Fire Armour Corporation and National Foam

 2 separated from United Technologies Corporation in or around 2013.

 3         189.    Defendant Kidde-Fenwal, Inc. ("I{idde-Fenwal") is a corporation organized under

 4 the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

 5 Hartford, Connecticut 06101.

 6         190.    On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde P.L.C.

 7 and manufactured AFFF following Kidde P.L.C.'s acquisition by United Technologies Corporation.

 8         191.    On information and belief, Kidde-Fenwal is the entity that divested the AFFF business

 9 unit now operated by National Foam in 2013.

10         192.    Defendant Carrier Giobal Corporation ("Carrier") is a corporation organized

11 under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

12 Boulevard, Pa1m Beach Gardens, Florida 33418,

13         193.    On information and belief, Carrier was formed in March 2020 when United

14 Technologies Corporation spun off its fire and secufity business before it merged with Raytheon

15 Company in April 2020.

16         194.    On infonnation and belief, Kidde-Fenwal became a subsidiary of Carrier when United

17 Technologies Corporation spun off its fire and security business in March 2020.

18         195.    On information and belief, the AFFF Defendants designed, manufactured, marketed,

19 distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical precursors that

20 were stored, handled, used, trained with„ tested equipment with, otherwise discharged, and/or

21 disposed at sites where Plaintiffs worked, trained and/or served.

22                 2.     The Fluorosurfactant Defendants

23          196.   The term "Fluorosurfactant Defendants" refers collectively to Defendants 3M,

24 Arkema Inc., BASF Corporation, ChemDesign Products Incorporated, Chemguard Inc., Deepwater

25 Chemicals, Inc., E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours

26 Company FC, LLC, DuPont de Nemours Inc., and Dynax Corporation.

27          197.   Defendant Ai-kema Inc. is a corporation organized and existing under the laws of

28 Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.

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1          198.    Arkema Inc. develops specialty chemicals and polymers.

 2         199.    Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

 3          200.   On information and belief, Arkema Inc. designed, manufactured, marketed,

 4 distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for

 5 use in AFFF products.

 6          201.   Defendant BASF Corporation ("BASF") is a corporation organized under the laws

 7 of the State of Delaware, with its .principal place of business located at 100 Park Avenue, Florham

 8 Park, New Jersey 07932.

 9          202.   On information and belief, BASF is the successor-in-interest to Ciba. Inc. (f/k/a Ciba

10 Specialty Chemicals Corporation).

11          203.   On information and belief, Ciba Inc. designed, manufactured, marketed, distributed,

12 and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in AFFF

13 products.

14          204.   Defendant ChemDesign Products Inc. ("ChemDesign") is a corporation organized

15 under the laws of Delaware, with its principal place of business located at 2 Stanton Street, Marinette,'

16 WI, 54143.

17          205.    On information and belief, ChemDesign designed, manufactured, marketed,

18 distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for

19 use in AFFF products

20          206.    Defendant Deepwater Chemicals, Inc. ("Deepwater") is a corporation organized

21 under the laws of Delaware, with its principal place of business located at 196122 E County Road

22 40, Woodward, OK, 73801.

23          207.    On information and belief, Deepwater Chemicals designed, manufactured, marketed,

24 distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for

25 use in AFFF products

26          208.    Defendant Dynax Coi-poration ("Dynax") is a corporation organized under the laws

27 of the State of Delaware, with its principal place of business located at 103 Fairview Park Drive,

28 Elmsford, New York 10523.

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1          209.    On information and belief, Dynax entered into the AFFF inarket on or about 1991 and

 2 quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

3 containing PFOS, PFOA, and/or their chemical precursors.

 4         210.    On information and belief, Dynax designed, manufactured, marketed, distributed, and

 5 sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their chemical

 6 precursors for use in AFFF products.

 7         211.    Defendant E.I. du Pont de leiemours & Company ("DuPont") is a corporation

 8 organized under the laws of the State of Delaware, with its principal place of business located at 974

 9 Centre Road, Wilmington, Delaware 19805.

10         212.    Defendant The Chemours Company ("Chemours Co.") is a limited liability

11 company organized under the laws of the State of Delaware, with its principal place of business

12 located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

13         213.    In 2015, DuPont spun off its performance chemicals business to Chemours Co., along

14 with vast environmental liabilities which Chemours Co. assumed, including those related to PFOS

15 and PFOA and fluorosurfactants. ' On information and belief, Chemours Co. has supplied

16 fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers of

17 AFFF products.

18         214.    On information and belief, Chemours Co. was incorporated as a subsidiary of DuPont

19 as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned subsidiary

20 of DuPont.

21          215.   In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

22 "performance chemicals" business line, which includes its fluoroproducts business, distributing

23   shares of Chemours Co. stock to DiiPont stockholders, and Chemours Co. has since been an

24 independent, publicly-traded company.

25          216.   Defendant The Chemours Company FC, LLC ("Chemours FC") is a limited

26 liability company organized under the laws of the State of Delaware, with its principal place of

27 business located at 1007 Market Street, Wilmington, Delaware, 1989.

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1          217,    Defendant Corteva, Inc. ("Corteva") is a corporation organized and existing under

2 the laws of Delaware, with its principal place of busi.ness at 974 Centre Rd., Wilmington, Delaware

3 19805.

 4         218.    Defendant Dupont de Nemours Inc. f/Wa DowDuPont, Inc. ("Dupont de

 5 Nemoui•s Inc.") is a corporation organized and existirig under the laws of

 6 Delaware, with its principal place of business at 974 Centre Road, Wilmington,

 7 Delaware 19805 and 2211 H.H. Dow Way, Midland, Michigan 48674.

 8         219.    On June 1, 2019, DowDuPont separated its agriculture business through the spin-off

 9 of Corteva.

10         220.    Corteva was initially formed in February 2018. From that time until June 1, 2019,

11 Corteva was a wholly-owned subsidiary of DowDuPont.

12          221.   On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued and

13 outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that
                                    ;.
14 distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

15          222.   Corteva holds certain DowDuPont assets and liabilities, including DowDuPont's

16 agriculture and nutritional businesses.

17          223.   On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

18 of another entity known as Dow, Inc., changed its'name to DuPont de Nemours, Inc., to be known as

19 DuPont ("New DuPont"). New DuPont retained assets in the specialty products business lines

20 following the above-described spin-offs, as well as the balance of the financial assets and liabilities

21 of E.1 DuPont not assumed by Corteva.

22          224.   Defendants E. I. Du Pont de Nemours and Company; The Chemours Company; The

23 Chemours Company FC, LLC; Corteva, Inc.; and DuPoiit de Nemours, Inc. are collectively referred

24 to as "DuPont" throughout this Complaint.

25          225.   On information and belief, Dupont designed, manufactured, marketed, distributed,

26 and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

27 AFFF products.

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1          226.    On information and belief, 3M and Chemguard also designed, manufactured,

2 marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

3 precursors for use in AFFF products,

 4         227.    On information and belief, the Fluorosurfactant Defendants designed, manufactured,

 5 marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

 6 precursors for use in AFFF products that were stored, handled, used, trained with, tested equipment

 7 with, otherwise discharged, and/or disposed at sites Plaintiffs' worked, trained and/or served.

 8                 3.      The PFC Defendants

 9         228.    The term "PFC Defendants" refers collectively to 3M, AGC Chemicals Americas

10 Inc., Archroma Management LLC, ChemDesign Products Inc., Chemicals, Inc., Clariant

11 Corporation, Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours

12 Company, The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation

13 Ford Chemical Company.

14         229.    Defendant AGC Chemicals Amei-icas, Inc. ("AGC") is a corporation organized and

15 existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

16 Avenue, Suite 201, Exton, PA 19341.

17          230.   On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

18 is a subsidiary of AGC Inc.,' a foreign corporation orgariized under the laws of Japan, with its a

19 principal place of business in Tokyo, Japan.

20          231.   AGC manufactures specialty chemicals. It offers glass, electronic displays, and

21 chemical products, including resins, water and oil repellants, greenhouse films, silica additives, and

22 various fluorointermediates.

23          232.   On information and belief, AGC designed, manufactured, marketed, distributed, and

24 sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the

25 flurosurfactants used in AFFF products.

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 1         233.    Defendant Archroma Management LLC ("Archroma") is a foreign corporation

 2 organized and existing under the laws of Switzerland, with its principal place of business at

 3 Neuhofstrasse 11, 4153 Reinach, Basel-Land, Switzerland./ //

 4         234.    On information and belief, Archroma was formed in 2013 when Clariant Corporation

 5 divested its textile chemicals, paper specialties, and emulsions business to SK Capital Partners.

 6         235.    On information and belief, Archroma designed, manufactured, marketed, distributed,

 7 and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

 8 the fluorosurfactants used in AFFF products.

 9         236.    Defendant Chemicals, Inc. ("Chemicals, Inc.") is a corporation organized and

10 existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

11 Baytown, TX 77520.

12         237.    On information and belief, Chemicals, Inc. supplied PFCs containing PFOS, PFOA,

13 and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

14 products.

15         238.    Defendant Clariant Corporation ("Clariant") is a corporation organized and

16 existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

17 Charlotte, North Carolina 28205.

18          239.   On information and belief, Clariant is the successor in interest to the specialty

19 chemicals business of Sandoz Chenucal Corporation ("Sandoz"). On information and belief, Sandoz

20 spun off its specialty chemicals business to form Clariant in 1995.

21          240.   On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

22 their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

23          241.   Defendant Nation Ford Chemical Co. ("Nation Foi•d") is a corporation organized

24 and existing under the laws of South Carolina, with its principal place of business located at 2300

25 Banks Street, Fort Mill, SC 29715.

26          242.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

27 and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

28 products.

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1           243.    On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont also I

2 supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

3    the fluorosurfactants used in AFFF products.

4           244.    On information and belief, the Fluorochemical Defendants supplied PFCs containing

 5   PFOS, PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used

 6 in AFFF products that were stored, handled, used, trained with, tested equipment with, otherwise

 7 discharged, and/or disposed at locations where Plaintiffs worked, trained and/or served.

 8          245.    Defendants represent all or substantially all of the market for AFFF/Component

 9 Products at the locations where Plaintiffs worked, served and/or trained.

10            FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

11          A.      PFOA and PFOS and Their Risk to Public Health

12          246.    PFAS are chemical compounds containing fluorine and carbon. These substances,

13   have been used for decades in the manufacture of, among other things, household and commercial

14 products that resist heat, stains, oil, and water. These substances are not naturally occurring and m

15   be manufactured.

16          247.    The two most widely studied types of these substances are PFOA and PFOS.

17          248.    PFOA and PFOS have unique properties that cause them to be: (i) mobile a.nd

18   persistent, meaning that they readily spread into the environment where they break down very slowly;

19 (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in organisms and up

20 the food chain; and (iii) toxic, meaning that they pose serious health risks to humans and animals.

21          249.    PFOA and PFOS easily dissolve in water, a.nd thus they are mobile and easily spread

22 in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil into

23   groundwater, where they can travel significant distances. / / /

24          250.    PFOA and PFOS are characterized by the presence of multiple carbon-fluorine bonds,

25 I which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally, chemically,

26 and biologically stable. They resist degradation due to light, water, and biological processes.

27           251.   Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

28 I the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when



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1 the concentration of a substance in the tissues of organisms increases as the substance travels up thel

2 food chain.

 3           252.   PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

4 relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

 5 periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to any

 6 PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

 7           253.   PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

 81 humans eat fish that have ingested PFOA and/or PFOS.

 91          254.    The chemical structure of PFOA and PFOS makes them resistant to breakdown or

101 environmental degradation. As a result, they are persistent when released into the environment.

11           255.    Exposure to PFAS is toxic and poses serious health risks to humans and animals.

12           256.    PFAS are readily absorbed after consumption or inhalation and accumulate primarily

13    in the bloodstream, kidney, and liver.

14           B.      Defendants' Manufacture and Sale of AFFF/Component Pi-oducts

15           257.    AFFF is a type of water-based foam that was first developed in the 1960s to extinguish

16 hydrocarbon fuel-based fires.

17           258.    AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

18 fires that are difficult to fight; particularly those that involve petroleum or other flammable liquids.

19           259.    AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

20 agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous

21 film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment and

22 I is the source of the designation aqueous film-forming foam.

23           260.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

24 II distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

25 I or the chemical precursors that degrade into PFOS and PFOA.

26           261.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

27 11 their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

28 II PFOS, and/or their precursor chemicals into the environment.



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 1          262.   AFFF that contains fluorosurfactants, however, is better at extinguishing hydrocarbon

 2 fuel-based fires due to their surface-tension lowering properties, essentially smothering the fire and

 3 starving it of oxygen.

 4          263.   The fluorosurfactants used in 3M's AFFF products were manufactured by 3M's

 5 patented process of electrochemical fluorination ("ECF").

 6          264.   The fluorosurfactants used in other AFFF products sold by the AFFF Defendants were

 7 manufactured by the Fluorosurfactant Defendants through the process of telomerization.

 8          265.   The PFCs the Fluorosurfactant Defendants needed to manufacture those

 9 fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

10 manufactured, marketed, distributed and/or sold by the PFC Defendants.

11          266.    On information and belief, the PFC and Fluorosurfactant Defendants were aware that

12 the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or sold

13 would be used in the AFFF products designed, manufactured, marketed, distributed, and/or sold by

14 the AFFF Defendants.

15          267.    On information and belief, the PFC and Fluorosurfactant Defendants designed,

16 manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the'

17 AFFF products discharged into the environment at sites where Plaintiffs worked, served and/or

18 trained during fire protection, training, and response activities, resulting in widespread PFAS

19 contamination.

20          268.    On information and belief, the AFFF Defendants designed, manufactured, marketed,

21 distributed, and/or sold the AFFF products discharged into the environment at locations where

22 Plaintiffs worked, served and/or trained during fire protection, training, and response activities,

23 resulting in widespread PFAS contamination.

24          C.      Defendants' Knowled2e of the Threats to Public Health and the Environment

25                  Posed bv PFOS and PFOA

26          269.    On information and belief, by at least the 1970s 3M and DuPont knew or should have

27 known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying, and

28 toxic.

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 1             270.    On information and belief, 3M and DuPont concealed from the public and government

 2 agencies its knowledge of the threats to public health and the environment posed by PFOA and PFOS.

 3             271.    Some or all of the Defendants understood how stable the fluorinated surfactants used

 4 in AFFF are when released into the environment from their first sale to a customer, yet they failed to ~

 5    warn their customers or provide reasonable instruction on how to manage wastes generated from I

 6 their products.

 7                     1.      1940s and 1950s: Early Warnings About the Persistence of AFFF

 8             272.    In 1947, 3M started its fluorochemical program, and within four years, it began selling I

 9 its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants contained in I

10 AFFF products were understood prior to their commercial application at 3M's Cottage Grove facility I

11 in Minnesota.
12             273.    The inventor of 3M's ECF process was J.H. Simons. Simons' 1948 patent for the

13 ECF process reported that PFCs are "non-corrosive, and of little chemical reactivity," and "do not

14 react with any of the metals at ordinary temperatures and react only with the more chemically reactive

15 metals such as sodium, at elevated teinperatures."1

16             274.     Simons further reported that fluorosurfactants produced by the ECF process do not

17 react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

18 skeleton of the molecule. 3M uriderstood that the stability of the carbon-to-fluorine bonds prevented

19 its fluorosurfactants from undergoing further chemical reactions or degrading under natural processes

20 in the environment.2

21             275.     The thermal stability of 3M's fluorosurfactants was also understood prior to

22 commercial production. Simons' patent application further discloses that the fluorosurfactants

23 produced by the ECF process were thermally stable at temperatures up to 750° C(1382° F).

24
25
26
      ' Simons, J. H., Fluorination of Orgaiiic Conipounds, U.S. Patent No. 2,447,717. August 24, 1948, available
27    at https:/hvww.ae;.state.nin.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.

28    2   Simons, J. H., 1950. Fluorocarbons aiid Their Production. Fluorine Chemistry, 1(12): 401-422, available at
      https://ww,NAr.ag,state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
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 1     Additional research by 3M expanded the understanding of the thennal stability of perfluorocarbon

2,     compounds.'

 3            276.   Nowhere in any Material Safety Data Sheet for any of Defendants' AFFF/Component

 4     Products is information on the themzal stability of those products disclosed. Failure to disclose

 5    I knowledge of the stability of the PFCs and fluorosurfactants used in AFFF products to customers is

 6     a failure to warn just how indestructible the AFFF's ingredients are when released to unprotected

 7     water sources and even treatment plants.

 8                   2.      1960s: AFFF's Environmental Hazards Come Into Focus

 ~:           277.   By at least the end of the 1960s, additional research and testing performed by 3M and I

10 I DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique chemical

11 structure, were resistant to environmental degradation and would persist in the environmentl

12 essentially unaltered if allowed to enter the environment.

13            278.    One 3M employee wrote in 1964: "This chemical stability also extends itself to all

14 types of biological processes; tliere are no known biological orsianisms that are able to attack the
                                                  4 Thus, 3M knew by the mid-1960s that its surfactants were
15 carbon-fluorine bond in a fluorocarbon."

16 immune to chemical and biological degradation in soils and groundwater.

17            279.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

18 fluorocarbon sulfonic acids dissociated to form highly stable perfl uorocarboxy late and

19 perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143

20 (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in soils

21 for both compounds.5

22

23 '

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25
     3 Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine
26 Chemistry, 1(13): 423-462.
     4 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Cheniistry (1964), available at
27 https://wv~N,. ae;.statc.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.

28 I 5 Tecluiical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, avarlable at
     https://w,Aiv. aQ;. state.mn.us/Office/Cases/3M/docs/PTX/PTX115 8.pdf.


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1                    3.      1970s: Intee•nal Stndies Provide Evidence of Environmental and Health

 2                           Risks

 3            280.   By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would notl

 4 degrade when released to the environment, but would remain intact and persist. Two decades later

 5 and after the establishment of a robust market of AFFFs using fluorosurfactants-3M finally goti

 6 around to looking at the environmental risks that fluorosurfactants posed.

 7            281.   An internal memo from 3M in 1971 states that "the thesis that there is `no natural I

 8 sink' for fluorocarbons obviously demands some attention."6 Hence, 3M understood at the very leastl

 9 that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it was I

10 released into the environment.

11            282.   By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimatel

12 I understanding of the persistent nature of PFCs.            A 1976 study, for example, observed no I

13 biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as "unsurprising" in I
                                                                                                            7
14 light of the fact that "[b]iodegradation of FC 95 is improbable because it is completely fluorinated."

15            283.   In 1977, Ansul authored a report titled "Environmentally Improved AFFF," which I

16 acknowledged that releasing AFFF into the environment could pose potential negative impacts to,

17 groundwater quality.8       Ansul wrote: "The purpose of this work is to explore the development of

18 experimental AFFF formulations that would exhibit reduced impact on the environment while

19 retaining certain fire suppression characteristic ... improvements [to AFFF formulations] are desired

20 in the environmental area, i.e., development of compositions that have a reduced impact on the

21 environment without loss of fire suppression effectiveness." Thus, Ansul knew by the mid-1970s

22 that the environmental impact of AFFF needed to be reduced, yet there is no evidence that Ansul (or

23 any other Defendant) ever pursued initiatives to do so.

24

25

26   6   Memoraiiduni from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
     avarlable crt https://-%NNNNv ap- state mn us/Office/Cases/3M/does/PTX/PTX1088.pdf.
27 ' Tecluiical Report Summary, August 12, 1976 [3MA01252037].

28 8 Ansul Co., Final Report: Enviroiunentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
   1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a 050508.pdf.
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 1           284.    A 1978 3M biodegradation study likewise reported that an"extensive study strongly I

 2 suggest[ed]" one of its PFCs is "likely to persist in the environment for extended period unaltered by

 3 metabolic attack."9 A year later, a 3M study reported that one of its fluorosurfactants "was found to

 4 be completely resistant to biological test conditions," and that it appeared waterways were the
                                            lo
 5 fluorosurfactant's "environmental sink."

 6           285.    In 1979, 3M also completed a comprehensive biodegradation and toxicity studyl

 7 covering investigations between 1975 and 1978.11 More than a decade after 3M began selling AFFF

 8 containing fluorosurfactants it wrote: "there has been a general lack of knowledge relative to the

 9 environmental impact of these chemicals." The report ominously asked, "If these materials are not

10 biodegradable, what is their fate in the environment?"

11           286.    During the 1970s, 3M also leamed that the fluorosurfactants used in AFFF I

12 accumulated in the human body and were "even more toxic" than previously believed.

13           287.    In 1975, 3M leams that PFAS was present in the blood of the general population.12

14 Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

15 possibility that their products were a source of this PFOS. The finding also should have alerted 3M

      to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as those

17 characteristics could explain how PFOS from 3M's products ended up in human blood.

.18          288.    In 1976, 3M found PFAS in the blood of its workers at levels "up to 1000 times

19 `normal' amounts of organically bound fluorine in their blood."1' This finding should have alerted

20 3M to the same issues raised by the prior year's findings.

21

22   Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
      9
   Fluorocarbons - II, Jan. 1, 1978, available at
23 https://w," ,Nv.aa.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
   10 Tecluiical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
24 Fluorocarbons - I11, July 19, 1978, available at
   https://w,A,N,Y.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTXI 179j)df.
25
   " Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
26 ht  tus://www. ag.state.mn.us/Off ce/Cases/3M/docs/PTX/PTX25 63.udf.
   ''- Meniorandi.uii from G.H. Crawford to L.C: Krogh et al. re: Fluorocarbons in Humaii Blood Plasma, Aug.
27 20, 1975, available at littps://www.ae.state.nni.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.

28    13 3M Chronology — Fluorochemicals in Blood, Aug. 26, 1977, available at
      https://m,," ,N,,r.ag.state.mii.us/Office/Cases/3M/docs/PTX/PTXI 144.pdf.


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1          289.    Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead minnow

2 fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to rats.'6 In the

3 study involving monkeys and PFOS, all of the monkeys died within days of ingesting food

 4 contaminated with PFOS.

 5         290.    In 1979, 3M and DuPont discussed 3M's discovery of PFOA in the blood of its workers

 6 and came to the same conclusion that there was "no reason" to notify the EPA of the finding. l7

 7                 4.      1980s and 1990s: Evidence of AFFF's Health Risks Continues to Mount

 8         291.    By at least the end of the 1980s, additional research and testing performed by

 9 Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

10 and other adverse health effects, including elevated liver enzymes and birth defects, had been

11 observed among workers exposed to such materials, including at least PFOA, but such data was not

12 published, provided to govemmental entities as required by law, or otherwise publicly disclosed at

13 the time.

14          292.   In 1981, DuPont tested for and found PFOA in the blood of female plant workers

15 Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

16 workers, finding two of seven children born to female plant workers between 1979 and 1981 had

17 birth defects—one an "unconfirmed" eye and tear duct defect, and one a nostril and eye defect. lg

18          293.   In 1983, 3M researchers concluded that concerns about PFAS "give rise to concern for

19 environmental safety," including "legitimate questions about the persistence, accumulation potential,

20

21 14 The Effects of Contuiuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growtli and Survival
   of Fry of Fatliead Minnow, June 1978, available at
22 https://wwrNv.aa.state.mn.us/Offce/Cases/3M/docs/PTX/PTX1176.pd£
       Ninety-Day Subacute Rliesus Monkey Toxicity Study, Dec. 18, 1978, available at
23 15
   https://ww,Av.a.g.state.mn.us/Offcc/Cases/3M/docs/PTX/PTX1191.udf; Aborted FC95 Monkey Study, Jan. 2,
   1979, available at https://xvN;rw.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
24
   16 Acute Oral Toxicity (LD5o) Study in Rats (FC-143), May 5, 1978, available at
25 https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf;          FC-95, FC-143 and FM-3422 — 90
   Day Subacute Toxicity Studies Conducted at IRDC — Review of Final Reports and Summary, Mar. 20,
26 1979, available at littns://w,vNrw.a.g.state.nin.us/Office/Cases/3M/docs/PTX/PTX1199.ndf.
       Memorandum from R:A. Prokop to J.D. Lazerte re: Disclosure of Infonnation on Levels of
27 "Fluorocliemicals in Blood, July 26, 1979, available at
   https://ww~v.aQ.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.
28
    ls C-8 Blood Sainpling Results, available at http://tiny.cc/v8zlniz.

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 1 and ecotoxicity of fluorochemicals in the environment."19 That same year, 3M completed a study

 2 finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later shared with

 3 DuPont and led them to consider whether "they may be obliged under their policy to call FC-143 a

 4 carcinogen in animals."21

 5          294.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

 6 workers, leading one of the company's medical officers to warn in an internal memo: "we must

 7 this present trend with serious concern. It is certainly possible that ... exposure opportunities are

 8 providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the body."22

 9          295.     A 1997 material safety data sheet ("MSDS") for a non-AFFF product made by 3M

10! listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and wamed that the

11 product includes "a chemical which can cause cancer." The MSDS cited "1983 and 1993 studies

12 conducted jointly by 3M and DuPont" as support for this statement. On information and belief, the

13 MSDS for 3M's AFFF products did not provide similar warnings or information.

14                   5.      Defendants Hid What They Knew from the Govei•nment and the Public.

15          296.     Federal law requires chemical 'manufacturers and distributors to immediately notify

16 the EPA if they have information that "reasonably suppoi-ts the conclusion that such substance or

17 mixture presents a substantial risk of injury to health or the environment." Toxic Substances Control

18 Act ("TSCA") § 8(e), 15 U:S.C. § 2607(e).

19           297.    In Apri12006, 3M agreed to pay EPA a penalty of more than $1.5 million after being

20 cited for 244 violations of the TSCA, which included violations for failing to disclose studies

21 regarding PFOS, PFOA, and other PFCs dating back decades.

22

23
   19 3M Environmental Laboratory (EE & PC), Fate of Fluorocliemicals - Phase II, May 20, 1983, available at
24 httus:/hx,NNtiv. ag.state.mn . us/Office/Cases/3M/docs/PTX/PTX12 84. pdf.

25 20 Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of 4,
   Aug. 29, 1987, available at https://-vNtivw.a.g.state.nin.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
26 21 Memorandum from R.G. Perkins to F.D. Griffitli re: Summary of the Review of the FC-143 Two-Year
   Feeder Study Report to be presented at the Jaiivary 7, 1988 meeting witli DuPont, Jaiivary 5, 1988, available
27 at https://wtivw.aQ.state.nm.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.

28 '-z Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
     https://wv«v. aP—state. inii.us/Office/Cases/3M/docs/PTX/PTX 1313.pdf.

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1             298.     Likewise, in December 2005, the EPA announced it was imposing the "Largesti

 2 Environmental Administrative Penalty in Agency History" against DuPont based on evidence that it

 3 violated the TSCA by concealing the environmental and health effects of PFOA.

 4            299.     On information and belief, Defendants knew or should have known that AFFF

 5 containing PFOA or PFOS would very likely injure and/or threaten public health and thel

 6 environment, even when used as intended or directed.

 7             300.    Defendants failed to warn of these risks to the environment and public health, j

 8 including the impact of their AFFF/Component Products on the quality of unprotected water sources.

 9             301.    Defendants were all sophisticated and kriowledgeable in the art and science of

10' designing, formulating, and manufacturing AFFF/Component Products. They understood far more

11 about the properties of their AFFF/Component Products—including the potential hazards they posed

12 to human health and the environment—than any of their customers. Still, Defendants declined to

13 use their sophistication and knowledge to design safer products.

14             D.      The Impact of PFOS and PFOA on the Envii•onment and Human Health Is

15                     Finally Revealed `

16             302.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

17 Defendant complied with their obligations to notify EPA about the "substantial risk of inj ury to health

18 or the environment" posed by their AFFF/Component Products. See TSCA § 8(e).

19             303.    Despite decades of research, 3M first shared its concerns with EPA in the late 1990s.

20 In a May 1998 report submitted to EPA, "3M chose to report simply that PFOS had been found in

21 I the blood of animals, which is true but omits the most significant information," according to a former

22 ' 3M employee.2'

23             304.    On information and belief, 3M began in 2000 to phase out its production of products

24 that contained PFOS and PFOA in response to pressure from the EPA.

25             305.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

26 environmental and health effects associated with them, including a"C8 Science Panel" formed out

27

28   23   Letter from R. Purdy, Mar. 28, 1999, uvcrilable al
     htips://,A,,A,Nv.a,p.state.mn.us/Office/Cases/3M/does/PTX/PTX1 001.Udf.

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 1 of a class action settlement arising from contamination from DuPont's Washington Works located in

 2 Wood County, West Virginia.

 3          306.    The C8 panel consisted of three epidemiologists specifically tasked with determining

 4 whether there was a probable link between PFOA exposure and human diseases. In 2012, the panel

 5 found probable links between PFOA and kidney cancer, testicular cancer, ulcerative colitis, thyroid

 6 disease, pregnancy-induced hypertension (including preeclampsia), and hypercholesterolemia.

 7          307.    Human health effects associated with PFOS exposure include immune system effects,

 8 changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

 9 cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors, i

10 changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

11 system.

12          308.    The injuries caused by PFAS can arise months or years after exposure.

13          309.    Even after the C8 Science Panel publicly announced that human exposure to 50 parts

14 per trillion, or more, of PFOA iri drinking water for one year or longer had "probable links" with

15 certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid disease,

16 preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured and

17 represented to governmental entities, their customers, and the public (and continue to do so) that the

18 presence of PFOA in human blood at the levels found within the United States presents no risk of

19 harm and is of no legal; toxicological, or medical significance of any kind.

20           310.   Furthennore, Defendants have represented to and assured such governmental entities,

21 their customers, and the public (and continue to do so) that the work of the independent C8 Science

22 Panel was inadequate to satisfy the standards ofDefendants to prove such adverse effects upon and/or

23 any risk to humans with i-espect to PFOA in human blood.

24           311.   At all relevant times, Defendants, through their acts and/or omissions, controlled,

25 minimized, trivialized, manipulated, and/or otherwise influenced the information that was published

26 in peer-review journals, released by any govemmental entity, and/or otherwise made available to the

27 public relating to PFAS in human blood and any alleged adverse impacts and/or risks associated

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 1 therewith, effectively preventing the public from discovering the existence and extent of any

 2 injuries/harm as alleged herein.

 3          312.    On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

 4 Rule ("UCMR3"), requiring public water systems nationwide to monitor for thirty contaminants of

 5 concern between 2013 and 2015, including PFOS and PFOA.2a

 6          313.    In the May 2015 "Madrid Statement on Poly- and Perfluoroalkyl Substances

 7(PFAS's)," scientists and other professionals from a variety of disciplines, concemed about the

 8 production and release into the environment of PFOA, called for greater regulation, restrictions,

 9 limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

10 fluorinated alternatives to these products to avoid long-term harm to human health and the

11 environment. 25

12          314.     On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

13 effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25, 2016.

14 The EPA developed the HAs to assist governmental officials in protecting public health when PFOS

15 and PFOA are present in drinking water. The EPA HAs identified the concentration of PFOS and l

16 PFOA in drinking water at or below which adverse health effects are not anticipated to occur over a

17 lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on peer-reviewed studies of the

18 effects of PFOS and PFOA on laboratory animals (rats and mice) and were also informed by

19 epidemiological studies of human populations exposed to PFOS. These studies indicate that exposure

20 to PFOS and PFOA over these levels may result in adverse health effects, including:

21              a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low birth

22                   weight, accelerated puberry, skeletal variations);

23

24
    `4 Revisions to the Unt-egulated Contafninant Monitoring Regulation (UCMR 3) for Public Water Systetns,
25 77 Fed. Reg: 26072 (May 2, 2012).
    ZS Bluiu A, Balan SA, Scheringer M, Trier X, Goldenman. G, Cousins IT, Diaiiiond M, Fletcher T, Higgins C,
26 Lindemaii    AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and
 ~, perfluoroalkyl       substances      .(PFASs).     Environ.     Health     Perspect       123:A107—A111;
2 ' http://dY.doi.oriz/10.1289/elip.1509934.

28 26 See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories aiid Health Effects Support
    Documents for Perfluorooctanoic Acid atid Perfluorooctane Sulfonate.
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1               b. Cancer (testicular and kidney);

2               c. Liver effects (tissue daniage);

3               d. Immune effects (e.g., antibody production and immunity);

 4              e. Thyroid disease and other effects (e.g., cholesterol changes).

 5          315.    In addition, PFOS and PFOA are hazardous materials because they pose a"present or

 6 potential threat to human health."27

 7          316.    In 2016, the National Toxicology Program of the United States Department of Health

 8 and Human Services ("NTP") and the Intemational Agency for Research on Cancer ("IARC") both

 9 released extensive analyses of the expanding body of research regarding the adverse effects of PFCs.

10 The NTP concluded that both PFOA and PFOS are "presumed to be an immune hazard to humans"

11 based on a"consistent pattem of findings" of adverse immune effects in human (epidemiology)

12 studies and "high confidence" that PFOA and PFOS exposure was associated with suppression of

13 immune responses in animal (toxicology) studies.28

14          317.    IARC similarly concluded that there is "evidence" of "the carcinogenicity of ...

15 PFOA" in humans and in experimental animals, meaning that "[a] positive association has been
                                                                                                        29
16 observed between exposure to the agent and cancer for which a causal interpretation is ... credible."

17          318.     California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

18 to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of 1986.'0

19          319.    The United States Senate and House of Representatives passed the National Defense

20 Authorization Act in November 2017, which included $42 Million to remediate PFC contamination

21

22 " Id.; see also NationalAss'n foi, Sufface Finishing v. EPA, 795 F.3d 1, 3, 6(D.C. Cir. 2015) (referrnig to
    PFOS as a"toxic compound" and a"hazardous chemical.").
23
    Zs
       See U.S. Dep't of Healtli and Human Services, Nat'1 Toxicology Prograni, NTPMonograph:
24 bntnunotoxicityAssociatecl with Exposatre to Peifluorooctanoic Acid o7- Peffluorooctane Sulfonate (Sept.
    2016), at 1, 17, 19, available at httUs://ntp.niehs.nih.gov/ntp/oliat/pfoa ufos/pfoa pfosmonoizraph 508.pdf
25 '-y See Int'1 Agency for Research on Caiicer, IARC Monographs: Some Chetnicals Used as Solvents ancl in
    PolynerManufacture (Dec. 2016), at 27, 97, available at
26 http:/hnonographs.iarc.fr/ENG/Monographs/vo1:110/niono 110.pdf.

2'7 30 California Office of Environmental Healtli Hazard Assessment, Clzemicals Listed Effective Nov. 10, 2017
    as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA) and
28 Peifluof•ooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.e;ov/proposition-
    65 /crnr/clieniicals-listed-effective-november-10-2017-known-state-california-cause.
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 1       from military bases, as well as devoting $7 Million toward the Investing in Testing Act, which

 2       authoi-izes the Center for Disease Control and Prevention ("CDC") to conduct a study into the long-

 3       tenn health effects of PFOA and PFOS exposure.31 The legislation also required that the Department

 4       of Defense submit a report on.the status of developing a new military specification for AFFF that did

 5       not contain PFOS or PFOA. 3Z

 6                 320.    In June 2018, the Agency for Toxic Substances and Disease Registry ("ATSDR") andl

 7       EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking waterl

 8       advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.'3

 9                 321.    On February 20, 2020, the EPA announced a proposed decision to regulate PFOA and

10 PFOS under the Safe Drinking Water Act, which the agency characterized as a"key milestone" in

11 its efforts to "help communities address per- and polyfluoroalkyl substances (PFAS) nationwide."34

12 Following a public comment period on its proposed decision, the EPA will decide whether to move

13' forward         with the process of establishing a national primary drinking water regulation for PFOA and

14 PFOS.

15                 E.      AFFF Containing PFOS'and PFOA Is Fun2ible and Commingled in the

16                         Gi•oundwater

17                 322.    AFFF containing PFOS and/or PFOA, once it has been released to the environrrient,

18 lacks characteristics that would enable identification of the company that manufactured that

19 particular batch of AFFF or chemical feedstock.

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23       31   National Defense Autliorization Act for Fiscal Year 2018, H.R. 2810, 115t1i Congress (2017), available at
         httus://wvv,Nv.congress.gov/115/plaws/pub191/PLAW-115Uub191.pdf.
24
    ' Id ; see also U.S. Department of Defense, Alternatives to Aqueous Fibn For»zing Foam Report to
         3

25 Congress, June 2018, available at httus://wtivw.denix.osd.iiiil/derp/liome/documeiits/altei-iiatives-to-
   agueous-film-fonning-fo am-report-to-congress/.
26 33 ATSDR, Toxicological Profile for Peifluoroalkyls: Draft for Public Comment (June 2018), available at
   https://wv«v.atsdr.cdc..Rov/toxprofiles/tp200.pdf.
27
   3 ~ Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Watei-, Feb.
28 20, 2020, available at https://www.epa..Rov%iiewsreleases/epa.annowices-proposed-decision-reaulate-pfoa-
   and -pfos-drinking-water.                              . . .
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 1         323.    A subsurface plume, even if it comes from a single location, such as a retention pond

 2 or fire training area, originates from mixed batches of'AFFF and chemical feedstock coming from

 3 different manufacturers.

 4         324.    Because precise identification of the specific manufacturer of any given

 5 AFFF/Component Product that was a source of PFAS exposure for Plaintiffs is nearly impossible,

 6 given certain exceptions, Plaintiffs must pursue all Defendants, jointly and severally

 7         325.    Defendants are also jointly and severally liable because they conspired to conceal the

 8 true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products containing

 9 PFOS and PFOA, at Plaintiffs' expense, and to attempt to avoid liability.

10         326.    Defendants in this action are manufactur.e-rs that control a substantial share of the

11 market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors in

12 the United States and are jointly responsible for Plaintiffs'
                                                      .~         harm. Market share liability attaches to

13 all Defendants and the liability of each should be 4ssigned according to its percentage of the market

14 for AFFF/Component Products at issue in this Complaint.

15          327.   Because PFAS is fungible, it is impossible to identify the exact Defendant who

16 manufactured any given AFFF/Component Product containing PFOS and PFOA, and each of these

17 Defendants participated in a territory-wide and U. S. national market for AFFF/Component Products

18 during the relevant time.

19          328.   Concert of action liability attaches to all Defendants, each of which participated in a

20 common plan to commit the torts alleged herein and each of which acted tortuously in pursuance of

21 the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

22 Products containing PFOS, PFOA, and/or their chemical precursors.

23          329.   Enterprise liability attaches to all the named Defendants for casting defective products

24 into the stream of commerce.

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 1                                        CAUSES OF AC'I'ION

2                                               COUNT 1:

 3                                           NEGLIGENCE

 4         330.    Plaintiffs reallege and incorporate the allegations in the foregoing paragraphs above

 5 and allege the following:

 6         331.    As manufacturers, marketers and sellers of AFFF/Component Products containing

 7 PFOS, PFOA, and/or their chemical precursors, Defendants owed a duty to all persons whom its

 8 products might foreseeably harm, including Plaintiffs, and not to market any product which is

 9 unreasonably dangerous in design for its reasonably anticipated use.

10         332.    Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

11 dangerous AFFF/Component Products into the marketplace when its release of PFAS into air, soil I

12 and water was imminent and certain.

13         333.    Defendants' AFFF/Component Products were unreasonably dangerous for its

14 reasonably anticipated use because exposure ta increased levels of PFAS poses a significant health

15 threat to human health.

16         334.    Defendants knew of these risks and failed to use reasonable care in the design of their

17 AFFF/Component Products. Defendants knew or should have known that PFAS were leaching from

18 AFFF used for fire protection, training and response activities.

19          335.   Defendants knew or should have known that the manner in which they were

20 manufacturing, marketing and selling their AFFF/Component Products would result in Plaintiffs

21 being exposed to increased levels of PFAS.

22          336.   Despite knowing that PFAS are toxic, can contaminate water resources and are

23 carcinogenic, Defendants negligently:

24             a. Designed, manufactured, formulated, handled, labeled, instructed, controlled,

25                 marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

26                 PFOA, and/or their chemical precursors;

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 1             b. Provided deficieiit instructions on how their AFFF/Component Products should be

 2                 used and disposed of, thereby permitting Plaintiffs to be exposed to increased levels

 3                 of PFAS;

 4             c. Failed to recall and/or warn Plaintiffs of the dangers of their AFFF/Component

 5                 Products as a result of standard use and disposal of their products; and

 6             d. Failed to take reasonable, adequate, and sufficient steps or actions to eliminate,

 7                 correct, or remedy any contamination after it occurred.

 8          337.   The magnitude of the burden on the Defendants to guard against this foreseeable harm

 9 to Plaintiffs was minimal, as the practical consequences of placing this burden on the Defendants

10 amounted to burden to provide adequate instructions, proper labeling, and sufficient warnings about

1 l their AFFF/Component Products.

12          338.   As manufacturers, Defendants were in the best position to provide adequate

13 instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and to
                                                           .
14 take steps to eliminate, correct, or remedy any exposure or contamination they caused.

15          339.   As a direct and proximate result of Defendants' negligence, Plaintiffs have sufPered,

16 and continue to suffer, injuries entitling them to damages and monitoring costs in an amount to be

17 determined at trial.

18          340.   Defendants knew that it was substantially certain that their acts and omissions

19 described above would threaten the health of uses of their AFFF/Component Products like Plaintiffs.

20 Defendants committed each of the above-described acts and

21 omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

22 conscious and/or reckless di'sregard for the health and safety of Plaintiffs.

23                                               COUNT 2:

24                          PRODUCTS LIABILITY - FAILURE TO WARN

25          341.    Plaintiffs reallege and incorporate the allegations in the foregoing paragraphs above

26 and allege the following:

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 1          342.    At all times material, the Defendants manufactured, designed, formulated, marketed,

 2 tested, promoted, supplied, sold, and/or distributed their AFFF/Component Products in the regular

 3 course of business.

 4          343.    As a manufacturer of AFFF/Component Products containing PFOS, PFOA, and/or their

 5 chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these products

 6 to all persons whom its product. might foreseeably harm, including Plaintiffs.

 7          344.    Defendants' AFFF/Component -Products were unreasonably dangerous for their

 8 reasonably anticipated use because exposure to increased levels of PFAS poses a significant threat to

 9 human health.

10          345.    Defendants knew of the health risks associated with their AFFF/Component Products

11 and failed to provide a waming that would lead an ordinary, reasonable user or handler of a product to

12 contemplate the danger to human health associated with those products.

13          346.    Despite Defendants' knowledge of the human health hazards associated with the use

14 and/or disposal of their AFFF%Component Products, Defendants failed to issue any wamings,

15 instructions, recalls or advice regarding those products to Plaintiffs; govemmental agencies or the public.

16          347.    Plaintiffs have heeded legally adequate wamings and would not have used Defendants'

17 AFFF/Component Products or would have taken steps to ensure such products were used and disposed

18 of differently to prevent potential exposure and/or contamination.

19          348.    As a direct and proximate result of Defendants' failure to warn, Plaintiffs have suffered

20 and continue to suffer injuries entitled them to damages in an amount to be determined at trial.

21          349.    Defendants knew it was substantially certain that their acts and omissions described

22 above would threaten the health of users of their AFFF/Component Products like Plaintiffs. Defendants

23 committed each of the above-entitled acts and omissions knowingly, willfully, and/or with fraud,

24 oppression, or malice, and with conscious and/or reckless disregard for the health and safety of Plaintiffs.

25                                                 COUNT 3

26                          PRODUCTS LIABILITY - DEFECTIVE DESIGN

27          350.    Plaintiffs reallege and incorporate the allegations in the foregoing paragraphs above

28 and allege the following:

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                                                  COMPLAINT
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1           351.   At all times material, the Defendants manufactured, designed, formulated, marketed, I

2 tested, promoted, supplied, sold and/or distributed their AFFF/Component Products in the regular

3 course of business.

4           352.   As manufacturers, Defendants owed a duty to all persons whom its products might

 5 foreseeably harm, including Plaintiffs, not to market any product that was unreasonably dangerous

6 in design for its reasonably anticipated use.

7           353.   Defendants knew their AFFF/Component Products were unreasonably dangerous for

 8 their reasonably anticipated use because exposure to increased levels of PFAS poses a significant

 9 threat to human health.

10          354.   Defendants knew of these risks and failed to use reasonable care in the design of their

11 AFFF/Component Products.

12          355.   AFFF containing PFOS, PFOA, and/or their chemical precursors posses a greater

13   danger to human health than would be expected by ordinary persons such as Plaintiffs.

14          356.   At all times, Defendants were capable of making AFFF/Component Products that did

15 contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative designs existed

16 which were capable of preventing Plaintiffs' injuries.

17          357.   The risks posed by AFFF containing PFOS, PFOA, and/or their chemical precursors

18 far outweigh the products' utility as a flame-control product.

19          358.   The likelihood that Defendants' AFFF/Component Products would expose Plaintiffs

20 to substantial health risks, as well as the gravity of those risks, far outweighed any burden on

21 Defendants to adopt an alternative design and any corresponding adverse effect, if any, of such

22 alternative design on the utility of the product.

23          359.    As a direct and proximate result of Defendants' unreasonably dangerous design,

24 manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their chemical

25 precursors, Plaintiffs have suffered, and continue to suffer, injuries entitling them to damages in an

26 amount to be determined at trial.

27          360.    Defendants knew that it was substantially certain that their acts and omissions

28 described above would threaten the health of users of their AFFF/Component Products like Plaintiffs.



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 1 Defendants committed each of the above-described acts and omissions knowingly, willfully, and/or

 2 with fraud, oppression, or malice, and with conscious arid/or reckless disregard for the health and

 3 safety of Plaintiffs.

 4                                               COUNT 4

 5                 ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

 6          361.    Plaintiffs reallege and incorporate the allegations in the foregoing paragraphs above

 7 and allege the following:

 8          362.    Through their effectuation of the Spinoff, Chemours Co. and DuPont (the "Fraudulent

 9 Transfer Defendants") caused Chemours Co. to transfer valuable assets to DuPont, including but not

10 limited to the $3.9 billion dividend (the "Transfers"), while simultaneously assuming significant

l 1 liabilities (the "Assumed Liabilities").

12          363.    The Transfers and Assumed Liabilities were made for the benefit of DuPont.

13          364.    At the time that the Transfers were made and the Liabilities were assumed, and until

14 the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

15 Chemours Co.

16          365.    The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

17 Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

18 Chemours Co.

19          366.    Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

20 Defendants.

21          367.    Plaintiffs are entitled to avoid the Transfers and to recover property or value

22 transferred to DuPont.

23                                                COUNT 5

24           CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

25          368.    Plaintiffs reallege and incorporate the allegations in the foregoing paragraphs above

26 and allege the following:

27          369.    Chemours Co. did not receive reasonably equivalent value from DuPont in exchange for

28 the Transfers and Assumed Liabilities.
                                                                                                            I.

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                                                 COMPLAINT
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 1          370.     Each of the Transfers and the assumption of the Assumed Liabilities by Chemours Co.

 2 was made to or for the benefit of DuPont.

 3          371.     At the time that the Transfers were made and the Assumed Liabilities were assumed,

 4 and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

 5 Chemours Co.

 6          372.     The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

 7 Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its remaining

 LI-I assets were unreasonably small in relation to its business.

 91         373.     Chemours Co. was insolvent or in contemplation of insolvency at the time of the

10 1 Transfers, or became insolvent as a result of the Transfers and its assumption of the Assumed Liabilities.

11          374.     At the time that the Transfers were made and Chemours Co. assumed the Assumed

12 Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should have

13 believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

14          375.     Plaintiffs have been harmed as a result of the Transfers.

15          376.     Plaintiffs are erititled to avoid the Transfers and to recover property or value transferred

16 to DuPont.

17                                                   COUNT 6

18                                           PUNITIVE DAMAGES

19'          377.    Plaintiffs reallege and incorporate the allegations in the foregoing paragraphs above

20 and allege the following:

21           378.    At all times relevant, Defendants manufactured, marketed and sold AFFF/Component

22 Products used by Plaintiffs in the course of their employment.

23           379.    Defendants knew that it was substantially certain that their acts and omissions described

24 above would threaten the health of users of their AFFF/Component Products like Plaintiffs.

25           380.    Defendants' negligent, reckless, willful, ad/or wanton actions and/or intentional failures

26 to act caused Plaintiffs to be exposed to an unknown quantity of PFAS.

27           381.    The willful, wa.nton, malicious and/or reckless conduct of Defendants, includes, but is

28 not limited to:



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 1                a. Providing no warnings and failing to divulge material infonnation concerning exposure

 2                     to or release of PFAS, including, but not limited to PFOA and PFOS;

 3                b. Knowing there was a high probability that use of their products would result in exposure'

 4                     to increased levels of PFAS;

 5                c. Failing to take all reasonable measures to ensure their AFFF/Component Products

 6                     containing PFOS, PFOA, and/or their chemical precursors would be safely and

 7                     effectively used and/or disposed of; and

 8                d. Failing to prevent the foreseeable impact of PFAS exposure on the health of Plaintiffs

 9         382.        As a result of Defendants' conduct, Plaintiffs have either developed or are at an

10 increased risk of developing serious health conditions that include but are not limited to lymphoma,

11 throat cancer, bladder cancer, thyroid cancer, kidney caticer, rectal cancer, colon cancer, prostate

12 cancer, colorectal carcinoid tumor, leukemia, and testicular cancer.

13         383.        Defendants have acted with irnplied malice and demonstrated an outrageous conscious

14 disregard for the health and safety of Plaintiffs, warranting the imposition of punitive damages.

15                                            PRAYER FOR RELIEF

16          WHEREFORE, Plaintiffs demand judgment against Defendants, and each of therri, jointly

17 and severally, and request the following relief from the Court:

18                a. a declaration that Deferidants acted with negligence, gross negligence, and/or willful,

19                     wanton, and careless disregard for the health, safety of Plaintiffs;
20
                  b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal, and
21
                       punitive damages;
22
                  c. an order for an award of attomey fees and costs, as provided by law;
23

24                d. pre judgment and post judgment interest as provided by law;

25                e. an order barring the transfer of DuPont's liabilities for the claims brought in this

26                     Complaint;
27                f.   an award of punitive damages in an amount sufficient to deter Defendants' similar
28
                       wrongful conduct in the future;

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                                                      COMPLAINT
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1              g. an award of consequential damages;

2              h. an award of pre judgment and post judgment interest as provided by law; and
 3
               i. an order for all such other relief the Court deems just and proper.
4
                                      DEIVIAND FOR JURY T'RIAL
 5
           Plaintiffs demand a trial by jury of all issues so triable as a matter of right.
 6
     Dated: February 23, 2022                      BORDIN SEMMER LLP
 7
                                                               ~            .
 8
                                                   By:
 9
                                                         Joshua Bordin-Wosk
10                                                       Benjamin A. Sampson
                                                         Attomey for Plaintiffs
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12

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                                                  COMPLAINT
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                   SUPERIOR COURT OF CALIFOh.NIA
                      COUNTY OF LOS ANGELES
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Spring Street Courthouse                                                                                C-butt ofi Catifctrtia
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312 North Spring Street, Los Angeles, CA 90012
                                                                                                    02,12312022
                     NOTICE OF CASE ASSIGNMENT                                          ShodR Caft„ E:xxa,-Ai.~.~ 0&r.0 CbdL otUsrA
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                                                                                         Df-
                             UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below. I 22STCV065rJ$

                              THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE                DEPT     ROOM                  ASSIGNED JUDGE                  DEPT        ROOM
   f       Jill Feeney                        30




       Given to the Plaintiff/Cross-Complainant/Attomey of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       on 02/23/2022                                                       By N. Miramontes                               , Deputy Clerk
                    (Date)

LACIV 190 (Rev6/18)            NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                   INSTRUCTIONS FOR HANDLING UNLINIITED CIVIL CASES

'fhe following critical provisions of the Califomia Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORIT7t OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JODGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive niotions, requested
form jury i:nstructions, special jury instructions", and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this confe;ence... At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted'to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules. .

SANCTIONS                                              ...
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Tliree Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to, the Supervising Judge of complex litigation for deternunation of
complea status. If the case is deemed to be complex within the meaning of Califorriia Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIINITED CIVIL CASE
 LASC Approved 05/06
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                                                    Sherri R
 2
 3                     SUPERIOR COURT OF TIiE STATE OF CALIFORNIA
 4                              FOR TBE COUNTY OF LOS AiliGELES
 5.
       IN RE PERSONAL INJURY                         ) CASE NO.: 22STCV06558
 6
       CQURT ("PI COURT") PROCEDURES
 7     SPRING STREET COURTHOUSE                      ) FIRST AMENDED STANDING ORDER
       (EFFECTIVE FEBRUARY 24, 2020)                 ) RE: PERSONAL INJURY PROCEDURES
 8                                                   ) AT THE SP-RING STREET COURTHOUSE
 9
10
11                 ALL HEARINGS ARE SET IN THE:DEPARTMENT AS
                   REFLECTED IN THE NOTICE OF CASE ASSIGNMENT
12
                   FINAL STATUS CONFERENCE:-
13
                             DATE:            08/09/2023              AT 10:00 A.M.
14
15                 TRIAL:
16                            DATE:            08/23/2023.             AT 8:30 A.M.
17
                  OSC RE DISMISSAL
                             _.._..._ .
18                ~CODE CIV. PROC., § 583.210):
19                            DATE:            02/19/2025              AT 8:30 A.M.
20

21           TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

22 ;         Pursuant to the California Code of Civil Procedure ("C.C.P."), the California Rules of

23     Court ("C.R.C.") and the Los Angeles County Court Rules ("Local Rules"), the Los Angeles

24 '   Superior Court ("LASC" or "Court") HEREBY AMENDS AND SUPERSEDES THE
25 '   SEPTEMBER 26, 2019 STANDING ORDER AND, GENERALLY ORDERS AS FOLLOWS
26     IN THIS AND ALL OTHER GENERAL JURISDICTION PERSONAL INJURY ("PI")
27     ACTIONS FILED IN THE CENTRAL DISTRICT.
28


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              First Amended Standing Order Re Personal Injury Procedures, Spring Street Courihouse
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                                                                                            2424-SJ-042-00



1     1.       To ensure proper assignment to a PI Court, plaintiff(s) must carefully fill out the Civil

2     Case Cover Sheet Addendum (form LACIV 109). The Court defines "personal injury" as: "an

3      unlimited civil case described on the Civil Case Cover Sheet Addendurn and Statement of

 4     Location (LACIV 109) as Motor Vehicle-Personal Injury/Property Damage/Wrongful Death;

5      Personal Injury/Property Damage/Wrongful Death-Uninsured Motorist; Product Liability

 6    (other than asbestos or toxic/erivironmetital); Medical I1Ralpractice-Physicians & Surgeons;

 7.    Other Professional Health Care Malpractice; Premises Liability; Intentional Bodily

 8.    Injury/Property Damage/Wrongful Death; or Other Personal l;iijurytProperty Damage/Wrongful

 9     Death. An action for intentional infliction . of emotiontil distress, defamation, civil

14     rights/discrimination, or malpractice (other thari medical malpract'rce), is not included in this

11     definition. An:action for injury to reai property'is not:ir►cluiied in this definition" (Lacal Rule

12     ?•3(a)(1) (A))•       -

13            Consistent with Local Rule 2:3(a)(1)(A), tfie Court will assign a case to the PI Courts if

14    plaintiff(s) checks any of the following.boxes in tlte Civil Case Cover Sheet Addendum:

15                    ❑          A7100 Motor Vehicle — Personal Injury/Property Damage/Wrongful Death

16                    ❑          A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured

17                               Motorist .

18                    ❑          A7260 Product Liability (not a.sbestos or toxic/environmental)

                      ❑          A7210 Medical Malpractice — Physicians & Surgeons

                      ❑          A7240 Medical Malpractice — Other Professional Health Care Malpr•actice .
                         ❑       A7250 Premises Liability (e.g., slip and. fall)
                         ❑       A7230 Intentional Bodily Injury/Property Damage/VJrongful Death (e.g.,
                                 assault, vandalism etc.)

24                       ❑       A7220 Other Personal Injury/Property Damage/Wrongful Death

25            The.Court will not assign cases to the PI Courts if plaintiff(s) checks any boxes elsewhere

26    in the Civi) Case Cover Sheet Addendum (any boxes on pages two and three of that form).
27            The Court sets the above dates in this action in the PI Court as reflected in the Notice of
28    Case Assignment at the Spring Street Courthouse; 312 North Spring Street, Los Angeles, CA


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               First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
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                                                         •
                                                                                                   2020-SJ-002-QO



         1     90012 (C.R.C. Rules 3.714(b)(3), 3.729).
         2     FII,ING OF DOCiJMEIVTS
         3     2:      VVith the exception ofself-represented litigants:or parties or attorneys that have obtained
        .4     an exernption from mandatory electronic filing, parties must. electronically file dacuments.
          5    Filings are no longer accepted ;via facsimile. The requirements for.electronic filing are detailed
         5     in the Court's operative General0rder Re Mandatory Electronic Filing for Civi1, available online
         7     at www.lacourt.org (link on homepage).
         8     SERVICE OF SUMMt`>rNS AND Co11rII'LAINT
,
         9.3.           Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as
        l:t}   soon as possible but no later than three years froin the date when the complaint is filed
        11     (C.C.P. § 583.210;. subd. (a)). . On..the OSC re Dismissal date noted above, the PI Court will
        12:    dismiss the action andlor all unserved parties unless the plaintiff(s) shows cause why the action
        1:3 . or the unserved parties should not be dismissed (C:C.P. §§ 583.250; 581, subd. (b)(4)).
        14.    4.      The Court sets the above trial and final status conference ("FSC") dates on the condition
        15 . that plaintiff(s) effectuate service on deferidant(s) of the summons and complaint within six
    ,
        16     months of, filing the complaint.
        17. 5.         The PI Court will dismiss.the case without prejudice pursuant to Code of Civil Procedure         -
        18     § 581 when no party appears for trial..
        19     S'I'IPILA`I'IaL9I`1S TO COhI'I'I:1dtJE ')<'ItIAL
        2o     6.      Provided that all parties agree (and there is no violation. of the "hve-year rule" (C.C.P.
        21     § 583.310)), the parties may advance or continue any trial date in the PI Courts without showing
        22 ' good cause or articulating any reason or justification for the change: To continue or advance a
        23     trial date, the parties (or their counsel of record) should jointly execute and submit a Stipulation
        24     to Continue Trial, FSC and Related Mokion/Discovery Dates (forna LACIV C'I'RL-242, available
        25     on the court's website, Personal.Injury Court link). The PI Courts schedule FSCs at 10:00 a.m.,
        26     eight court day5 before the trial date. Parties seeking to continue the trial and FSC dates shall
        27     file the stipulation at least eight cotirt days before the FSC date. Parties seeking to advance the
        28     trial and FSC dates shall file the stipulation at least eightcourt days before the proposed advanced .


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 1     FSC date (C.C.P. § 595.2; Govt. Code         70617, subd. (c)(2)). In selecting a new trial date,
  2    parties should avoid setting on.any IVlonday, or.the Tuesday fallowing a court holiday. Parties
  3.   may submit a maximurn of two stipulations -to continue trial, for a total continuance of six
  4    months. Subsequent requests to continue trial will be grant-ed upon.a showing of good cause by
 5     noticed motion. This rule is retroactive so. that any previously granted stipulation to continue
  6    trial will count toward the maximum number of allowed continuances.
  7    N4 CASE MANAGEMENT CONFERENCES
  8    7.      The PI Courts do not conduct case management conferences. The parties need not file a
 9     Case IVlanagement Statement.
10     LAW AND 1VIOTIf➢N
11
       8.      Any and all electronically-filed .documents rnust be text searchable and bookmarked.
12.    (See operative General Order re Mandatory Electronic'Filing:in Civil).
13     C4UR7'ESY COI≤'IES REQ1UI12E1D
14     9.      Pursuant.to the operative General Order.re Nlandatory Electronic riling, courtesy
15     copies of certain documents must be submitted directly to the Pi Court courtrooms at the
]:6    Spring Street Courthouse. The PI Courts also strongly encourage the parties filing and
17     opposing lengthy motions, such as motions for summary judgment/adjudication, to submit one
18     or more three-ring binders organizing the courtesy copy behind tabs. Any.courtesy copies of
19     documents with declarations andlor exhibits must be tabbed (C.R:C. Rule 3.l 110(f)): All
20     deposition excerpts referenced:in briefs mustbe marked on the transcripts attached as exhibits
21     (C.R.C. Rule 3.1116(c)).
.22.   RESEItVATIt`➢N HEAIaYNG I3A'I'Ei
23     10.     Parties must reserve hearing dates for motions in the: PI Courts using the Court
24     Reservation System (CRS) available online at wwiv:Icrcfiurt.or~= (tink on homepage). After
25     reserving a motion hearing date, the reservation requestor must subnut the papers for filing with
26     the reservation receipt number printed on the face page of the document under the caption and
27     attach the reservation receipt as the last page. Parties or counsel who are unable to utilize the .
28     online CRS may reserve a motion hearing date by calling the PI courtroom, Monday through


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     l        ' ay, between. 3:00 p.m. and 4:00:p.m
          I Frid
     2    Wi`I'IiII)ItA,WAL ®F MOTIONS
     3    11.     California Rules of Court, Rule 3.13{)40) requires a moving party to notify the court
     4    itttmediately if a matter will not be heard on the scheduled date. In keeping with that rule, the
     5    PI Courts require parties to comply.with Code of Civil Procedure section 472(a) with; regard to.
     6.   the arnending of pleadings related to demurrers.or motions to strike so that the PI Courts do not
     7    needlessly prepare tentative rulings for these matters.
          DISCOVEitY 1V[®T'IONS
          12.     The purpose of an Informal Discovery Conference ("IDC") is to assist the parties to
          resolve andJor narrow the scope of.discovery disputes.: Lead trial counsel on each side, or another
          attorrtey with, full authority to make binding.agreements, 'must attend in person. The Pl judges
    12.   have found that, in nearly every case; the parties: amicably re5olve disputes with the assistance
    13    of the Court.
    14    13.     Parties rnust participate in an 1DC het'rare a Ivlotion to Compel Further Responses to
    15    Discovery will be heard unless thc moving party subrnits evidence, by way of deciaration, that
    16    the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
    17    an IDC does not automatically extend any deadlines imposed by thc Code of Civil Procedure for
    I8    noticing and filing discovery motions. Ideally, the:parties should participate in an IDC before a
    19     motion is filed because the IDC may avoid the necessity of a motion or reduce its scope. Because
    20    of that possibility,.attorneys are encouraged to stipulate to extend the 45 (or 60) day deadline for.
_   21     filing a motion to compel further discovery responses in order to.allow time to participate in an :
    22    IDC.
    23            If parties do not stipulate to extend the deadlines,: the moving party njay file the motion
    24     to avoid it being deesned untimely. 1-Iowever, the IDC must take place before the motion is
    25     heard so it is suggested that the moving party reserve a date for the motion hearing that is at least
    25    60 days after the date when the ITIC reservation is made. Motions to Compel Further Discovery
    27     Responses are heard at 10:00 a.m. If the IDC is not productive, the moving party may advance
    28    the hearing on a IVtotion to Compel Further D'iscovery Responses on any available hearing date


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     1   that complies with the notice requirements of the Code of Ci.vil Procedure.
     2   14.     Parties must reserve I.DC dates in the PI Courts using CRS, which is available online at
    - 3: www.lacourt.org (link on homepage). Parties m,ust meet and confer regarding the available dates
     4   in CRS prior to accessing the system. -After reserving ttic IDC date, the reservation requestor
     5   must file and serve an Informal Discflvery Conference Form for Personal Injury Courts (form
     6   LACIV 239) at.least 15 court days pr'tor to the:conference and attach the CRS reservation receipt
     7   as the last. page. The opposing party may file and serve a responsive IDC form, briefly setting
     B   forth that party's i•esponse, at least ten court days prior to the .IDC.
     9    15.    Time permitting, the PI Hub judges may' be available to participate in IDCs to try to

    10    resolve other types of discovery disputes.
    11   EX PARTE API'I.ICATIONS
    12    16.    Under the California Rules of Court; courts may only grant ex parfe relief upon a
    13   showing, by admissible evidence, that the moving party will suffer "irreparable harm,"
    14   "immediate danger," or wherethe moving party identifies "a:statutory basis for granting relief
-   15    ex parte" (C.R..C. Rule 3.1202(c)). The PI Courts have. no capacity to hear multiple ex pur-te
    16    applications or to shorten time to add hearirngs to their fully booked motion calendars. The PI
    17    Courts do not regard the Court's unavailability for timely motion hearings as an "immediate
          danger" or threat of "irreparable harm" justifying ex parre relief. Instead of seeking ex parte
    1s    relief, the moving party should reserve the earliest available motion hearing date (even if it is
    20    after the scheduled trial date) and file a motion to continue trial: Parties should also check
    21    CRS from time to time because earlier hearing dates may become available as cases settle or
    22    hearings are taken off calendar.
    23    RPQTIEST FOR TIIANSFER TO INI}EPEPqI)iE1VT CALENDAR DEPA1tT'1lIENT
    24    17.    Parties seeking to transfer a case from a t?I Court to an Independent Calendar ("IC")
    25    Court shall file and serve the Court's "MotionlOpposition/Stipulation to Transfer Complicated
    26    Personal Injury Case to Independent Calend.ar Court" (form. LACIV 238, available on the Court's
    27    website under the PI Courts link). The PI Court.s will transfer a matter to an IC Court if the case .
    28    is not a"Personal Injury" case as defined in this Order, or if it is "complicated." In determining


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 1. .whether a personal injury case:is "complicated'.' the PI Courts iivilI consider, among other things,
 2     the number of pretrial hearings or the complexity of issues presented.
 3     18.       Parties opposing a motion to transfer:have five. court days to file an Opposition (using
 4     the same LACIV 238 Motion to Transfer forrn):
 5     19.    The PI Courts.will not conduct a hearing:on any Motion to Transfer to IC Court. Although            -

 6     the parties may stipulate to transfer a case to.an Iiidependent Calendar Department, the PI Courts     -

 7     will make an independent deteriiYinatiorr whether to transfer tEie case or not.
 8     FI141AL, STATUS CONFERENCE
 g     20.    Parties shall comply with the requiretitents of the PI Courts' operative Standing Order
10     Re Final Status Conference, tivhich shall be served with the:surnmons. and complaint.
12     JUIiY FE11±:S
12     21.    Parties must pay jury fees no later than 365 calendar days after the filing of the initial
13     complaint (C. C. P. § 631, subd. (c)(2))•
1.4    JUitY'TItIA1L5
15 ' 22.      The PI Courts do.not conduct jury trials. On the trial-date, a PI Court will contaet the
16     1'vlaster Calendar Court, Departrnent One, in the Stanley Mosk Courthouse. Department One
1'7    will assign c<tses for trial to dedicated Civil Trial Courtrooms and designated Criminal
18     Courtrooms.
19     SANCTI0NS
20     23.    The Court has discretion to irnpose sanctions. for ariy:violation of this general order
21     (C.C.P.      128.7, 187 and Gov. Code, § 68608, subd. (b)).
22 .
  .
23
                   r         ~.4, ~—ca~-~                                                     ~
24 . Dated:
                                                       SAI+JIANTHA: P. SSNIER
25 '                                                   Supervising Judge of Civil Courts
26
27
28


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                        OR THE COUNTYOF LOSX NGELES. — CENTRAL DISTFi lCT


      ln re Persorta! tnjury Gases Assigned .              }SECONa AMENDi=D SllPPi".EMENTAL
      #cs the Persor►aI injury Courts at the                 STANl7lNG ORDER PE COVID
                                                                                 ' ES RELATiw0 TO
                                                             PFiOTECT'( V E MEASUR
      Spring Stree# Courthouse                             ~ FINAL STATUS CONFERiwNCES 1N
                                                           } i"'i;RSONAL iNJURY CASES AT "THE
                                                           } SPRBM1lG STREET COiwtRTHOl.iSE
                                                           :}

                In arf effiort tv reduce' the numbdr ofi in-person appearancos in the Personal injury
      {"PIl courtroom 1ocated in the'Sp.rii~g:-Stt"t cour#house and to preverrt the iransmissi'on ot
      the COV1D-'i 9virus, the coun hereby 'tssues this supp(emental order to the Third Amer°tded
      Standirtg C3rder rof Pinal Status Cranf6re~.cs Persoria1 Injury Coijris dated Fobruary 24, 2020
      {"Oper.ative Pi FSO Order='},
                1.     ELECTRONlC TRtA9: BtNDERS
                As set ic,rth in the Operative PI i"SO Qrster; par#ies/counsel must file and serve Tdal
      Readiness DoeumenEs at Ioast fiue cal.endar days .prior.₹o tho PSC. instead of pmvict'irrg the
      court that wil{ iae donttiacting -tha FSG wifh the trial birrdals as descdbed in the C3perative i~'t
      FSC Order and a}apearing.in petsan, partiesloounset-are ordered tv prc+vide the rrial binders
      'in eIeotroriic form, This wtli allow iaarties aracl attorn+eys to appoar remofeiy for the finai status
24    c4nference and provide the court with the oPportunity ica. reariow t₹ae triai binders 3ra determine
25,   whother the partiesl'counsel'are ready ,for lria[. Hard ccapies ot tho binders prepared in .
26    accordance with the Opecative. Pi FSO Order, uviD continue fio be roquirod i:or the triai
27    oourtroom,
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            sFCONf3 AMFNpED SUPPt EMEKTAI. STANDING ORDeR RE CQVID PRtITECTIVE MEASlJRES RFLATRD To
              F{NAL 5SA7'lJu DL}iVFERENGES 1N RERSQNAl.1NJURY GASES AT THE SPRINO STREEi COURTMC3lJSE
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            2.     REQU1REMEN1'S {7F ELEtaTRONlC TRIAL BlNDEftS
            At least tuv0 court tiays before the FSG, parties/counsel must submit ttpa emaii e joini
     e9ectronic trial binder fio the courtroom conducting the F'SC as foll0ws:
            a.     The pertieslcouhsel rrrust submit in one P6F tY►e toint stetement ot the oase,
                   jcint witness,llpt,.jnintUt ofi jury instruotions, fufl-text joint and contasted jury
                   lnstructrQns, jaint andlor ccntested vardlct rorm(s), ioint exhlbii lost, and t+aint
                   depositian designatiOn chart.as Misted.in paregraph 4 af the Operative PI FSC
                   Order.
            b.     The triel briefs s.nd mo#i~rtis in,9imine, opopsitiOns, and replies, if eny, must bc:
                                                             ,..                                           .
                   submitted ir1 a separete PDF,
            C. .   Thhe 6?t'3Fs mList be text .searchable.
            d.     `f'he PCiFs must be bccskmarked which is essentialfy an elec4ronic tab s0 thet
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            e.     Tbe i'C7Fs rnust be emeiied laAW ap¢alicable email address iistect belovv.
                   Departrnent 277 et ss+cdept27PSC@twACeurt.org
                   Departrnent 28. at,sKdept28FSC@L,ACDourt.ora
                   Depertrnent 29 at §§cdep_L29PSC@ LACOurt.ortt.
                   Departrnent 30 at 8sccfept3OPSC @LACourt.orrt
                   Department 3.1 ak sscrter)t31 FSC@LACourfi.org
                   Department 32.at sscdept32FSC@LACcurt.~rq
            fi.    Tbe subject Iine: in the: email must include ideratifying cese intOrmatiOn es
                                             ,
                   fiQllows.
26                 [insert Cese Nurnber] Trial Reediness Binder, FSCi [insert MWDWr'EAR ot ,
                   Hesring Gate] (e.g. 19STCV0ft0D1 Tria9 Readiness Binder, FSC 01/11/2021).

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       RECOND ArJIEPIDED SUPPLENIEN'rAL STANDfEt1{a OF3DER RE COVID PFtOTECTIVE flAEASUFdES RELATED TO
         PIhIAL STATLlS CONFEREfiJGES {N f'EFtsONAL tNJk1RY GA8E5 AT THP: SPFIING STREET tOUE3THOLlSE
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           g.      Each amai) si:€uutd hrava two PDF& attachad -- cane containirag the °t"rial
                   Readir}ess documents and fhe nther containing tha trial brie#s and fnotions irt
                   limine, if appt"rcable.
           'Fr.   The parties raeed na subrr~lt_ the .euid®ntiary exhibit binders at ttZa FSC.
                   Howaveir, thia patties shait p'~~pare t.he exhibit birs~#ars as requirec~ in paragrapi~
                    of tha OperativaRI. i+'SC t30e.r 4ndte prepared to rapresent to the couJt that
                  they have bean, proparly~prepared.-NaCid copies of the exbibit binders wiIl be
                   requirert fior tr'iat:
           3.      FAIL,URE TO COMPLY WITH FSC OB,L1GAT1QNS
           "i't7e court has discretion to require any partylcounset who failsz or nefuses to comply
    with thia Supptemantat:Standfng:Order to si7ow~ c.aute: why the Caurt stiarsld not impr►se
    monetary, avidentiary.arttllor: issue san+ctlohs4inttucting the entry of a dafault or the atrikirig
; o# an answerj. In additioriT failura #0 t'smely ac►d fully do'mply vWi#h this order may resutt in the
icase noi beinq assigned. trial courtroorri:by Qepc. i.
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    Dated.                           _.     ,         ...... ....... .. .. .
                                                 Daivid j. ;Cowan
                                                 Supervtsing Judge, Civia
                                                 -
                                                 tr.os.Angales-Superior Court




       RECOND AMENDEQ SUPPL;EtaAENTAl STAPlD..JIVG flRpEFI RE COVtp PROTECTIlIE ¢JiEASUFiES RELAi°EG} TfJ •
         FItdAL 5T,4TUS C4NFERENCES IN F°ERSDJ~JA.L INJElRY CASE$ AT TF#!w SPRiNG STREET CpURTFJQU15E
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M RE. PER.S©NAL INJUItY C>ASES                        } THIR'1~ AMEP~3DED S T A~TDII~iG Q1~DElt
ASS1Gi'`TED'I'fJ T1=IE PER5C3NAL INJURY~                 RE: FINAL STATUS C(JtdtFERENCE,
COC1RTS AT-THE SPRiC+1G STREET                           PERSONAL INJURY {"P1") COURTS
CC}URTHgUSE                                           ,: (Effectfve January 13, 2{D?f1}


       The dates lor Trial and .the Final Status Conference.> ("FSC") having tieen sct in this rnatter, .
the COUI2T I-IEREBY A.MENDS: ANI) SiJPEItSEDES I'Z?S Augisst 9, 2019 STANIJING
OIiIJ,LR RE: F'INAI, STATI.IS CONFERENCE, PlERSCipNAL INJ1RY (tdPl4b) COURTS ANDq
GENERA,LLY OIt.DERS, AS 7FOLLOWS IN TI-IIS ANlCa                            AI.L OTHEIt GENER4L
JURISTJTCTION PEItSil2NAL INJ1tiIR.Y ACTIONS.


1.      PURPOSE OF"I'IIE FSC'
        The purpose of the. F5C is ta verify that tlie partiesl+counsel are conipl'etely ready to proceed
with trial cantinuously and_efficicntly, from day to day; until verdict. The I'I Courts will verify at the
FSC that ala partieslcounsellaave (1)'.prepared,the Exhibii bbinders anel Trial Docunnent binders and,(2
met antl conferred in an ef.fort to stipulate to, ultirnate facts, ae;al issues,.motions in litmine, and the ,:.
authcnticatiori and admissibility of exhibits.;.
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                         DED t7RDEA:RE FItJAL STATUS GOIVFERENCE, PERSOEVAL INJURY Cl3llRTS
                                         {Effectfva.Jaauary 19, ,2t72Q}
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      2.      TRIAL DC~CUMENTS TO BE FII:;>ED
              A.t least flve calendar ciays prior to tfte Final Status. Conference, the partieslcounsel stiall serve l
      and f'ile the following 'I'rial fteadiness Docurnents:
              A.         T'RIAL B1Eiti:IEF'S.(O11TION.AL) .
              Each pArtylcounsel. i'qay; but is ncit:required tct, fle a trial brief suc:cinctly identifying:
                         (1) the clailns and deFenses sutiject to litigation;
                         (2) the major legal . issues (with suppor(irig points and authorities);
                         (3) the reliefclairtaetl ancl catculation ofdamttiges sought; and
                         (4) any other ittformatitrn that may assist the,court at trial.
              B.         MOTIOrIS IN ,LBENE:
              l3efore filing_motitans in limine, the pArties,/counsel shall cqrziply wilh the statutory notice
      provisions of Code of Civil Proeetlure (`'C C P`~'') Se( tlon.l0O5 idnd tlle fCClulremt IltS Of 1.i7S A17 r®,eles
      County Court ltule ("I:ocal Rule") 3.57(a). The captioti of each. motion in limine shall concisely
      i identify the evidence that the moving:party seeks to preclude: :Parties filing more than c+ne motioa! in
      I limine shall number them consecutively. Parties filing oppositirin and reply papers shall identify tlae
      corresponding motion nurtaber.in the capti4n of their papers:
              C.         JOINT STATEMVNT T0 IIF READ Ttt➢ THE JIJ'RY
              For jury trials, the parti.es/counsel shall uiorie together to prepare and file a joint written
      staternent of the case for the court to read t® 'the jury (LQeal Rule 3,25(g)(4)}.
              D.         JOINT WI'I'NESS I.flST
21            The,part.i.es/counsel shall urork'togetlier to prepare and. f le a joint list crf all witnesses that
22    each party intends to call; excluding impeachlnent and ;rebuttal witnesses.(Local Rule 3:25(g}(5)).
23    The joint witness list shall identify etich.witness'by naYne, specify which witnesses are e.cperts,
24    estimate the length tifthe direct,;cross examination and re-direct ek~mination. (if any) of each, and
25    include a total of the number of haurs for all vUitness testimony. The partieslcounsel shall identify all.
26.   potential witness scheduling issues and,special requii'ements: Arty partyleczunsel who seel;s to elicit
27    testimony frorrr a witness not ideatified on the witness list must first malce a'sltoaving of good cause to
28    the trial court.
                                                           Page 2. ot 5

                   THfRD AhAENDMaFtDER FiE FINAL STATCJS DQNFEFtENCE, PERSONAL INJUFiY GOURTS
                                             (ENective..lanuary 13,.202t})
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               E.       LIS"I' OI+' PItO)e°PSED JUR'Y'INST1tL1CTIONS
                        (JCIINT ANI3 CONTESTED)
               The parties/counsel shall jc;intly prepare and file a lzst vf proposed jury instructions, organized
       in numerical order, spe+cifying the instructions.tapon which -all sides agree and the contested
       instrttctions, if any. The List of Prrapposed Jury:.Instructions must include a space by each instruction
       far the judge to indicate whether the iristructiori was given.
                                                                       ,.
               F.       J1iJItY IhdSTRUCTII3NS
                        (JOINT AN@ CONTESTED)
               The pactiesfe:rrunse'l shall prepare a ccirriplete. set of ftill-text proposed jury instructions} editing
       all propc►sed Csalifortiia Civil Jury, Tnstructions and iiisert partty narne(s) and etiminate blanks,
       brackets, and irrelevant material. The parti.eslcotsnsel:shall :prepare special instructions in a focmat
12 1   ready for submission to the jury with thc itysaruction nuM.ber, title, and text only (i.e., there should be
       no boxes or other indication on the printcd instruction itself as ta the reqtsesting party).
               G.       ;iOIN'd' VERDICT iE'O         (S).                  _

               The parties/counsel shall prepare and jQintly filc a pfoposed general verdict forrn or special
t~     verd'rct form (with interrogatories) acceptable,to all sides (Local.Rule 3,25(g)(S)l. if ttie
I7     partieslcouaasel canrtot agree on;a joint verdict:forrn, ea.ch:party imust separately file a proposed .
18     vertlict form.
19             H.       JOINT EXI-IIBIT LIsT
20             "Che parties/counsel shall pt`epare and file.a joint exhibit list organized with colutnns
21     identifying each exhibit antl specifying each part}j's e;videnliary.objections, if any, to adrnissinn.of
                                                                                                                           _
22     each exhibit. Tlae partieslcounsel shall meet and confer in,;an effbrt t+a resolve objectaQns to the
23     atirn.issibility of each exhibit.
24 1           I.       FAGIJ ANI) I.,INE I}FSIGNA°I'ICDT+1 T'OR
                        IIEPOSI'I'IflN AND`FORARR TESTIMOiNY
               If the partieslcounsel intend tQ use deposififln testiriictny or fonner trial testimony in lieu of
       any witness's live testimony, the partizs/counsel shall meet, anzl confer anfl jointly prepare, attd file. a
       chart «rith c.olumns for each:..of'the folloWing: 1) the page, and' lirte designations of the deppsition or
                                                             Paga a :ot 5
                    THIRD AIUIEFJDED taRDER RE FINAL STATIlS £DiVFEREPdDE, PERSQNAL iNJURY GOURTS
                                                 (Efteetive January 13, 2G2d),
       2:22-cv-01143-RMG             Date Filed 03/28/22              Entry Number 1-1    Page 81 of 98




       forrner test'imony requested, for use, 2) obj(--ctians, 3) cou4itex-designations, 4) any responses thereto,
       and 5) the Cciurt's ruling,
                                                         ,
       3.      EVTDENTIAItY Ef               I'I'S'
               The. parties/counsel shall jointly prepare. (and be ready ta temporarily lodge for inspection tit
       the FSC) three sets of tabbed, internally.paginated by documcnt, and properly-niarked exhibits,
       organized rtuznericatly irB three-ring binders (a set for tbe Ctaart,.the Judicial Assistant and tt9e
       witnesses). The partiesJcounsel.'shall' rnark all rton-documentary exhibits and i'nsert a simple tivritten
       description of the exllibit behind tlle r:orresponding numericaI tab in the euhibit birider, i,f the parties
       have a joint signed exhibit'list andelectrctnic copies of their:respective exhil.iits, then the
       parties/counsel wilt not be reyhired to'produce:exhibit biriders at the FSC. 1-lowever, the exhibit
       binders witl be;required hy the assigned trial judge vi+hen the [rial cornrnences. In the absence of
       either a joint s'►gned exhibit list'or electronic ccipiesT exhibit binders uwill be required to be produced
       by all partieslcounsel at the FS1Q:
       4.      TItIAL BIlNDERS REQ7JIi~D TPd TiiE PI COI`l1tTS
               The. partieg/counsel shall" jointly prppare (and be eeady to ternporarily lodge and include ihe
       .fallowing for inspection at lhe FSC) the Trial Documents cvnsisting of c:onformed copies (if
       available), tabbed and organized into three-ring binders with.a table of contents that includes thc
18     following:
19             Tab A:           Trial .13riefs. ;(t3ptional)
20             Tab I3:          Ivlotinris in I:imine
                                                                             ..
21             T'ab:C:          Joint Staternent to Be.k,ead to the 3ury
22             Tab D:           Joint Witness Lisi
23             Tub E:           Joint List of Jury Instructi4ns (identifyying the agreed upon and contested
24                              instructions)
25             Tab R.           Joint and Contested lury Instructioris .
26             Tab G:           Joint andlor CQntested Verdict Form(s)
27             Tab 1-I:         Joint Exhibit List
28 I

                                                               Page 4 of 5

                    THlRa A3UfENDED f3RDEFt RE f=1NAl: STA7US GdNFERENC                  [NJURY CC}URTS
                                                 (Etfeciiue January 13; 202{t)
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       !           Tab I:          Jaint CIiart of P!age:and Line Designatidn(s) for Deposition and
       ;                           Fariner Testim6ny
                   Tab J;          Copies of the Current 0perativer Pleadings (including the operative complaint,
                                   ansvuer, cross-csamp[airii, if any, and answer to any cross-c.omplaint).
                   The partieslt;ounsel shall organitie. motions in. limine (tabbed .in numerical order) behind Tab
           B with the oppositiora. papers and reply papers for eaeh motion placed dgrectly behind the moving
           papers, `r'lae parties sliall orgart,ize prQpased jury instructians behind Tab F, tivith the agreed. upan
           instructions first in order fotlou!ed by the contested instructions (including special instrtactions)
sI stabmitti~d by each side.
           5.      FAILIIRE TO COMPL'Y WI'I'H F"SC OBLIGA'I'IOhiS
                   The cotart has d'tscretion tti: require any partylcounsel' wtto fails. or refuses to comply with this
           Amended Standing Order to. Show Catjse why. the Caurt,should not impose inonetary, evidentiary
           andlor issue sanctions (includiing the-entry .af a.default or the striking.of an answer).
14 1
13

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                                                                                 County ot Los Angelga
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 3                                          _                                               eatl,►n®

 4                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                                                        ~

.5                                    FOR THE COUNTY OF LOS ANGELES                                                     ;
                                                                                                                        ;
                                                _                                                                       a
 6
       IN REPERSONAL INJURY CASES:    }                      SIXTH AMENDED STANDING ORDER
 7     ASSIGNED TO PERSONAL INJURY .   )                     RE:::MANDATORY SETTLEMENT
 $     COURTROOMS AT THE SPRING STREET )                     CONFEREI~ICE                                               ;
       COURTI-DOUSE                    )                     (Effective June 21, 202 i)
                                                        )
 9
                                                        )
10                                                      )




12     TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

13            Pursuant to California Code of Civil Procedure, the California Rules of Court and the Los
                                                                                                                        ~
14     Angeles Court Rules, the Los : Angeles . Superior Court: (Court) HEREBY AMENDS AND

15 : SUPERSEDES THE FEBRUARY 24, 2020 FIFTH AMENDED STANDING ORDER, AND THE

16     COURT HEREBY ISSUES THE FOLLOWING SIXTH AMENDED STANDING ORDER:

17            The Court orders the parties to participate in a v.irtual [vtandatory Settlement Conference (MSC)

18 ' supervised by a judge and staffed by volunteer attorneys who have significant experience in handling '

19     these types of cases and are members of the `American Board of Trial Advocates, the Association of '

20 ' Southern California Defense Counsel; the Consumer Attomeys Association of Los Angeles, and or the

21 . Beverly Hills Bar Association; and have continuing professional interest as officers of the court in its

22: ' successful operation.

23 :             1. Plaintiff's counsel shall within two (2) court days, of the Court's Order of an MSC access

24               the ResolveLawLA website at www.resol.velawla.com to create an account and register the

25               case for MSC. Plaintiff's counsel must coordinate with defense counsel and select a mutually .

26               agreed upon date an,d time for the .MSC prior to the trial date. Plaintiff's counsel shall also: •

27               provide the name, email add.ress, and phone number for defense counsel when registering

28               the case for an MSC.                                                                                   i
                                                                                                                        ,
                                                                  t
                                   STANDING ORDER V- Sixth Aniended Standing Order
                         re MSC In Re PI Cases Assigned to PI Courtrooms at Spring Street Courthouse
                                                                                                                    -~~
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                                                                                                             2021-SJ-008,00.



                   2. A mandatory settlement conference statetnent shall be lodged by each party with the

 2                    ResolveLawLA website and served on all parties not less than five (5) court days before the

 3                    scheduled MSC. The settlement conference statement shall be limited to five (5) pages on

.4                    the MSC F3rief and ten (10).pages:for. exhibits., ResolveLawLA MSCs are available at 9 a.m:

 5                    and 1:30 p.m. Monday through firiday, excluding court holidays, and are conducted via
                                                            ,
 6                    Zoom.

 7.                3. Pursuant to California Rules of Court, Rule 3. I 3:80(b) and Los Angeles Superior Court Rule

                      3?5(d), trial counsel, the parties and persons with full authority to settle the case (including

                      insurance company representatives) rnust.attend virtually via the website unless a judge has

                      excused the virtual appearance for good cause: Once defense counsel is notified that the
                      matter has been scheduled:for a remote MSC; defense counsel shall create their own login to

12                    the resolvelawla:corrt system, and shall list all .parties, party representatives.and insurance

13                    adjusters' names, phone numbers, and errtails where indicated. In the event the MSC needS

14                    to be canceled, i~ must be canceled through the ResolveLawLA system.
                                       ~
15                 4. If the case settles prior to the.scheduled MSC, ;Plaintiff's counsel shall forthwith notify the

16                    courtroom to whic~ the case. is assigned of sueh settletnent. The parties should also document

17                    their settlement agreement in a writing signed by all parties. Upon receiving notification;

18 I                  the ResolveLawLfO system witl send notifications via text and/or email and will include a
      ;                                       .
19                    Zoom link for counsel, the parties; and insurance representatives to join the remote MSC. .
-?0                5. The Court has the discrecion.to require ;any party andlor counsel who fails or refuses to

21                    comply with this order, to show cause why the Court should not impose monetary sanetions.

22                 IT IS SO ORDERED.                                                                                      -

23

94        Dated.
                                                                             Judge David 3. Cowan
25                                                                           Supervising Judge, Civil Division
26
~
 7

28

                                         STANDING ORDER—Sixth Amended.Standing Order
                              relVISC InRI,PI Cuses Assigneil to PI Courtrooms at Snring Street Courthouse
        2:22-cv-01143-RMG              Date Filed 03/28/22   Entry Number 1-1    Page 85 of 98

                                   a


                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


        r                }~       The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;

        1           B 1        however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
BarAssociation                 These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

             ;            ~.
                     :SSCi:
                     ::
                                   The     following organizations    endorse    the   goal of
Consumer Attorneys
Assoriation of Los Angeles     promoting ` efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
'fr                            promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               ♦ Los Angeles County Bar Association Litigation Section♦
Southern Califomia
Defense Counsel
                                           ♦ Los Angeles County Bar Association

.IYRlXIIW M bSM S   4M114
                                             Labor and Employment Law Section♦
          'y

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Association of
Business Trial Lawyers             ♦ Consumer Attorneys Association of Los Angeles♦


                                          ♦ Southern California Defense Counsel♦


                    ,,.                  ♦ Association of Business Trial Lawyers♦
         ~ cEira~
California Employment
Lawyers Association                 ♦ California .Employment Lawyers Association♦


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      For Optional Use
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NAMEANDADDRESSOFATTORNEYORPARTVWITHOUrATiORNEY:                    I STATEBARNUMBER          I      ReservedforClerKsFileStemp




          TELEPHONE NO.:                               FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):


I SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES ~
COURTHOUSE ADDRESS:




 DEFENDANT:



          STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.
      The parties agree that:
      1. The parties commit to condtict an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreemenf on the following:

           a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
              amendment as of right, or if the Court would allow leave to amend, could an amended
              complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
              agree to work through pleading issues so that a demurrer need only raise issues they cannot
              resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
              would some other type of motion be preferable? Could a voluntary targeted exchange of
              documents or information by any party cure an uncertainty in the pleadings?

           b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
              employment case, the employment records, personnel file and documents relating to the
              conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

           c. Exchange of names and contact information of witnesses;

           d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

           e. Exchange of any other information that might be helpful to facilitate understanding, handling,
              or resolution of the case in a manner that preserves objections or privileges by agreement;

           f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
              phases of the case. Also, when and how such issues can be presented to the Court;

           g. Whether or when the case should be scheduled with a settlement officer, what discovery or
              court ruling on legal issues is reasonably required to make settlement discussions meaningful,
              and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASCApproved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                   Page 1 of 2
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SHORTTfTLE:                                                                        CASE NUMBER:




              discussed in the "Altemative Dispute Resolution (ADR) Information Package" served with the
              complaint;

     h. Computation of damages, including documents, not privileged or protected from disclosure, on
        which such computation is based;

     i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
        www.lacourt.org under "Civif' and then under "General Information").

2.            The time for a defending party to respond to a complaint or cross-complaint will be extended
              to                         for the complaint, and                            for the cross-
                              (INSERT DATE)                                  (INSERT DATE)
              complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
              and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
              been found by the Civil Supervising Judge due to the case management benefits provided by
              this Stipulation. A copy of the General Order can be found at www.lacourt.org under "CiviP',
              click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.            The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
              and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
              results of their meet and confer and advising the Court of any way it may assist the parties'
              efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
              the Case Management Conference statement, and file the documents when the CMC
              statement is due.

4.            References to "days" mean calendar days, unless otherwise noted. If the date for performing
              any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
              for performing that act shall be extended to the next Court day

The following parties stipulate:

Date:
                                                                    1:
                        (TYPE OR PRINT NAME)                                  (ATTORNEY FOR PLAINTIFF)
Date:
                                                                    ➢
                        (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
Date:
                                                                    ➢
                        (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
Date:
                                                                    ➢

                        (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
Date:
                                                                    ➢
                        (TYPE OR PRINT NAME)                             (ATTORNEY FOR                            )
Date:
                                                                    ➢
                        (TYPE OR PRINT NAME)                             (ATTORNEY FOR                            )
Date:
                                                                    ➢
                        (TYPE OR PRINT NAME)                             (ATTORNEY FOR
                                                                                                                                 ;..
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NAME AND ADDRESS OF ATTORNEY OR PARTY W fTHOIJT ATTORNEY:                  STATE BAR NUMBER                  Reservee for Clerk's Fite Stamp




         TELEPHONE NO.:                                      FAX NO. (Optlonal):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY ®F LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:



                     STIPULATION — DISCOVERY RESOLUTION


       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the .
       resolution of the issues.

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written eequest for an Informal Discovery Conference pursuant
          to the terms of this stipu.l~tion.

       2. At the Informal Discovery Conference the Court will co.nsider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                   a. The party requesting the Informal Discovery Conference will:

                               File a Request for Informal Discovery Conference with the clerk's office on the
                               approved form (copy attached) and deliver a courtesy, conforrried copy to the
                               assigned department;

                      ii.      Include a brief summary of the dispute and specify the relief requested; and

                     iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                               that ensures that the opposing party receives the Request for Informal Discovery
                               Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must:

                               Also be filed on the approved form (copy attached);

                      ii.      Include a brief summary of why the requested relief should be denied;
       LACIV 036 (new)
       LASC Approved 04/11                       STIPULATION — DISCOVERY RESOLUTION
       For Optional Use                                                                                                             Page 1 of 3
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SHORT TfTLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party.may file a discovery.motion to address unresolved issues.

5. The parties hereby further agree that the time for. making a motion to compel or other
   discovery motion is tolled from the date of .filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a"specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless othenrvise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



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For Optional Use                                                                                    Page 2 of 3
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SHORTTFfLE:                                                          '       CASENUMBER:




The following parties stipulate:

Date:
                                                              ➢
                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR PLAINTIFF)
Date:
                                                              ➢
                 (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
Date:
                                                              ➢
                 (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
Date:
                                                              :
                 (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
Date:
                                                              ➢
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR                              )
Date:
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                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR                              )
Date:
                                                              ➢
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR




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For Optional Use                                                                                       Page 3 of 3
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NAME ANO ADORESS OF ATTORNEV OR PARTV WRHOUT ATTORNEV:
                                                                          ~i   STAI E BAR NUMBER                             Reserved for Cledc's File Slamp
                                                                                                                 I




          TELEPHONE NO.:                                      FAX NO. (Optlonal):
 E-MAIL ADDRESS (Optional):


SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                  ❑          Request for Informal Discovery Conference
                  ❑          Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                                       (insert date 10 oalendar days following filing of
             the Request).

       3. Deadline for Court to hold Informal Discovery Conference:                                                              (insert date 20 calendar
             days following filing of the Request).
                                                          ~
       4. For a Request for Informal~, Discovery Conference, briefly describe the nature of the
          discovery dispute, including .the facts and legal arguments at issue. For an Answer to
          Request for Informal Discovery Conference, briefly describe why the Court should deny
             411C It'.'qUC.7LCU UI.7GVVCIy, nll+ uuuIly llIC. al.W alI                        CUa aIyuIIICIIL.7 aL     10.7uc.




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                                              INFORMAL DISCOVERY CONFERENCE
       For O tional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
             Rrint `                    Save                                                                                             ~Clear                .._._
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NAME AND ADDRESS OF ATTORNEY OR PARTY W ITHOUT ATTORNEY:                    I   STATE OAR NUMBER          I            Reserved for Cledc's File Stamp




          TELEPHONE NO.:                                        FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR Name :
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSEADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                              CASE
               STIPULATION AND ORDER — MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwor6c.


       The parties agree that:

             At least       days before the final status conference, each party will provide all other
             parties with a list containing a one paragraph explanation of each proposed motion in
             limine. Each one paragraph explanation must identify the substance of a single proposed
             motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

       3. AII proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LASC Approved 04111                STIPULATION AND ORDER — MOTIONS IN LIMINE
       For Optional Use                                                                                                                       Page 1 of 2
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SHORT TFTLE:                                                        CASE NLIMBER:




The following parties stipulate:

Date:
                                                       ➢
               (TYPE OR PRINT NAME)                             (ATTORNEY FOR PLAINTIFF)
Date:
                                                       ➢
               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:
                                                       ➢
               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:
                                                       ➢

               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:
                                                       ➢
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR                           )
Date:
                                                       ➢
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR                           )
Date:
                                                       ➢
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR                           )



THE COURT SO ORDERS.

  Date:
                                                                     JUDICIAL OFFICER




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                                                                      JOHN A CLAAKE,qLERK

                                                                   BY NAl~lC~''iVA
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                 SUPEktIOR C®URT E)F THE 5.T'ATt OF CALiP+C1RNIA
                          FC]►R THE CHUNTY OJI±'LOS AN+GEI.ES


General Order Re                             }.      OR©ER PURSUANT TO CCP '1Q54(a),
Use of Voi~lntary Efficient Litigation       }       EXTENOIi~C "I•INIE TO RESPOfVQ BY
Stipulations                                 }       30 DAYS INHEN PARTIES AGREE
                                             }       TO EARL'Y OR.OANIZATIOIVAL
                                             }       MEETING STIPULAATION
                                             1

       Whereas the Los Angeles Superior Court,and the Exectltive Committee 4f the

Litigation Section of the l,os.Angeles County Bar Assooiation have cooperated in

drafting "Voluntary Efficient Litigation Stipulations" and i,n proposing the stipulatiQns for

Ltse in generaf jurisdiction civii Iit.igation..in-Los-Angelos Gounty,,

       Whereas the Los Angeles County Bar,4ssoei~tir9r~ Litigation Section; the Los

Angeles County Sar. Association Labor and .Ernployment Law Section; the Consumer

A#torneys Association of Los Angeles; the Associatiorl.of 5outhern California Defense
Counsel; the Association of Business Trial Lawyers of Los Angeles; and the Califorriia

Employrnent Lawyers Association aA "endorse the goal of'iaromoting efficiency in

litigation, and ask that counsei consider using: these stipulations as a voluntary way to
promote communications and pracedures amQng counsel and with the court to fairiy
resolve issues In their cases;"

                                               rtr


                            t7RDER PURSt1ANT T{J CCP _I(}54(a)
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                   Whereas the Early Organizational Meeting Stipulation is intended to encourage
      i

     2    cooperation among the parties at an early stage in litigation in order to achieve
     3     litigation efficiencies; .
     4
                   Whereas it is intended that use of the Early Organizational Meeting Stipulation
     5
          will promote economic case resolution and judicial efficiency;
     6

      7
                   Whereas, in order to promote a rneaningful discussion of pleading issues at the

      a    Early Organizational Meeting and potentially to reduce the need for motions to
      9
           challenge the pleadings, it is necessary to allow additional time to conduct the Early
     lo
           Organizational Meeting before the time to respond to a complaint or cross complaint
     11
           has expired;
     12

     13
                   Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

     14   which an action is pending to extend for not more thah 30 days the time to respond to
     15
           a pleading "upon good cause shown";..
     16
                   Now, therefore, this Court hereby finds that there is good cause to extend for 30
     17
           days the time to respond to a complaint or to a cross complaint in any action in which
     ls
     19   the parties have entered into the Early Organizational Meeting Stipulation. This finding
     20   of good cause is based on the anticipated judicial efficiency and benefits of economic
     21
           case resolution that the Early Organizational Meeting Stipulation is intended to
     22
          I promote.
     23

     24
                   IT IS HEREBY ORDERED that, in any case in which the parties have entered

     2s    into an Early Organizational Meeting Stipulation, the time for a defending party to
     26    respond to a complaint or cross complaint shall be extended by the 30 days permitted
     27

     28

                                                      -2-

                                        ORDER PURSUANT TO CCP 1054(a)
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         by Code of Civil Procedure section 10≥;4(a) withoutfurther need of a specific court
    1

    2    order.

    3

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         oAr o    f~ , ~~i                        Carotyn B. Kuh Supervising .Iudge of the
                                                  Civil Departrnents, Los Angeles Superior Court
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 ~.~.:;, :.~~~~           Su p erior Court of California, County of Los Angeles
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    ~ ~~~
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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantages of ADR
     •      Saves Time: ADR is faster than going to trial.
     •      Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
     •      Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
     •      Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
     •      Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
     •      No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR

     1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
        settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.


     2.     Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
            strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
            acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.


                        Mediation may be appropriate when the parties
                           •   want to work out a solution but need help from a neutral person.
                          •    have communication problems or strong emotions that interfere with resolution.
                        Mediation may not be appropriate when the parties
                           •   want a public trial and want a judge or jury to decide the outcome.
                           •   lack equal bargaining power or have a history of physical/emotional abuse.




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                                  How to Arrange Mediation in Los AngelesCounty

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a.   The Civil Mediation Vendor Resource List
               If all parties in an active civil case agree to mediation, they may contact these organ izations
               to request a"Resource List Mediation" for mediation at reduced cost or no cost (for selected
               cases).

                          ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                          JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                          Mediation Centerof Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.


          b.   Los Angeles County Dispute Resolution Programs
               https://h rc.la cou nty.gov/wp-content/u ploads/2020/05/DRP-Fact-Sheet-230ctoberl9-Current-as-of-October-2019-1.pdf

               Dayof trial mediation programs have been paused until further notice.

               Online Dispute Resolution(ODR). Partiesin small claims and unlawful detainer(eviction) cases
               should carefully reviewthe Notice and other information they may receive about (ODR)
               requirements for their case.

          c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; thereisnorighttotrial. In "non bindi ng" arbitration, any party can req uest a
      trial afterthe arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. MandatorySettlementConferences(MSC): MSCs are ordered bythe Court and are often held close
      to the tria l date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluatingthe strengths and
      weaknesses ofthe case and in negotiatinga settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los AngelesSuperior Court ADRwebsite: http://www.l'acourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/po-ograms-adr.htm


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